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                                                     Measured
                                                     Volume:       Processing     Processing     Processing Score Processing
                                                     Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area             District               Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/24/2020   Capital Metro    Atlanta                        17346        84.88%          95.33%            98.69%         98.90%
10/24/2020   Capital Metro    Baltimore                      10430        84.24%          89.84%            93.52%         95.64%
10/24/2020   Capital Metro    Capital                        14957        92.99%          97.25%            98.20%         98.44%

10/24/2020 Capital Metro      Greater S Carolina            11941         92.25%         97.52%           98.93%          99.07%
10/24/2020 Capital Metro      Greensboro                    15795         83.59%         89.70%           96.57%          96.78%
10/24/2020 Capital Metro      Mid-Carolinas                 11179         90.56%         96.00%           97.65%          97.81%

10/24/2020 Capital Metro      Norther Virginia              11777         91.55%         95.32%           96.81%          96.98%
10/24/2020 Capital Metro      Richmond                      10000         92.44%         97.14%           98.65%          98.72%
10/24/2020 Eastern            Appalachian                    1934         58.89%         62.51%           63.44%          63.86%

10/24/2020   Eastern          Central Pennsylvania          28385         78.49%         90.51%           98.91%          99.36%
10/24/2020   Eastern          Kentuckiana                     740         37.84%         50.14%           53.11%          54.19%
10/24/2020   Eastern          Norther Ohio                  35419         91.84%         98.73%           99.44%          99.47%
10/24/2020   Eastern          Ohio Valley                   25330         95.08%         98.68%           99.36%          99.40%

10/24/2020 Eastern            Philadelphia Metropo          18172         91.56%         95.10%           98.90%          99.13%
10/24/2020 Eastern            South Jersey                  21398         95.55%         97.49%           98.23%          98.71%
10/24/2020 Eastern            Tennessee                      3209         88.72%         96.42%           98.66%          98.66%

10/24/2020 Eastern            Western New York              10344         96.20%         98.29%           99.27%          99.27%

10/24/2020 Eastern            Western Pennsylvania          34046         98.08%         99.17%           99.72%          99.73%
10/24/2020 Great Lakes        Central Illinois              17975         89.89%         94.03%           96.85%          98.99%
10/24/2020 Great Lakes        Chicago                       11591         90.71%         91.97%           92.56%          95.82%
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                                                   Measured
                                                   Volume:      Processing     Processing     Processing Score Processing
                                                   Inbound      Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area           District               Ballot       Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/24/2020   Great Lakes    Detroit                        5818        74.01%          92.59%            97.37%         98.14%
10/24/2020   Great Lakes    Gateway                        9057        93.44%          97.06%            98.05%         98.16%
10/24/2020   Great Lakes    Greater Indiana                 953        72.61%          91.82%            98.64%         98.64%

10/24/2020   Great Lakes    Greater Michigan               6131         91.67%         96.88%          97.99%          98.01%
10/24/2020   Great Lakes    Lakeland                       1883         81.73%         93.73%          95.65%          95.91%
10/24/2020   Northeast      Albany                         9973         95.19%         98.44%          99.22%          99.27%
10/24/2020   Northeast      Caribbean                      9672         99.62%         99.88%          99.91%          99.91%

10/24/2020   Northeast      Connecticut Valley            12234         95.55%         97.74%          98.63%          98.80%
10/24/2020   Northeast      Greater Boston                40953         96.03%         98.45%          99.02%          99.04%
10/24/2020   Northeast      Long Island                   14887         96.61%         98.34%          98.81%          98.86%
10/24/2020   Northeast      New York                       7343         91.16%         95.17%          99.17%          99.43%

10/24/2020 Northeast        Northern New England           1475         76.61%         94.17%          99.19%          99.19%

10/24/2020   Northeast      Northern New Jersey           30594         96.50%         97.68%          98.05%          98.11%
10/24/2020   Northeast      Triboro                        5769         83.10%         85.77%          86.58%          86.69%
10/24/2020   Northeast      Westchester                    8542         92.77%         95.94%          97.31%          97.45%
10/24/2020   Pacific        Bay-Valley                    58739         98.43%         99.11%          99.29%          99.31%
10/24/2020   Pacific        Honolulu                      26646         97.22%         98.96%          99.17%          99.25%
10/24/2020   Pacific        Los Angeles                   55482         98.59%         99.16%          99.38%          99.38%
10/24/2020   Pacific        Sacramento                    58974         96.75%         99.28%          99.35%          99.37%
10/24/2020   Pacific        San Diego                     90896         98.84%         99.49%          99.66%          99.66%
10/24/2020   Pacific        San Francisco                 36292         98.32%         99.17%          99.45%          99.47%
10/24/2020   Pacific        Santa Ana                     45995         99.02%         99.61%          99.75%          99.76%
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                                            Measured
                                            Volume:       Processing     Processing     Processing Score Processing
                                            Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area        District           Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/24/2020   Pacific     Sierra Coastal             32423        98.49%          99.35%            99.58%         99.59%
10/24/2020   Southern    Alabama                      623        65.81%          92.30%            96.63%         96.63%
10/24/2020   Southern    Arkansas                     761        91.46%          96.32%            98.55%         98.55%
10/24/2020   Southern    Dallas                      3107        94.59%          97.81%            98.58%         98.65%
10/24/2020   Southern    Ft. Worth                   1887        90.04%          94.70%            96.08%         96.13%
10/24/2020   Southern    Gulf Atlantic              18655        90.81%          96.31%            98.68%         98.78%
10/24/2020   Southern    Houston                     2697        84.65%          89.51%            91.58%         91.73%
10/24/2020   Southern    Louisiana                    564        77.30%          90.78%            98.05%         98.05%
10/24/2020   Southern    Mississippi                  469        85.50%          95.10%            98.51%         98.51%
10/24/2020   Southern    Oklahoma                     385        75.32%          91.69%            97.40%         97.40%
10/24/2020   Southern    Rio Grande                  3434        91.09%          95.22%            98.11%         98.11%
10/24/2020   Southern    South Florida               9782        92.92%          96.32%            98.65%         98.66%
10/24/2020   Southern    Suncoast                   47899        96.63%          98.56%            99.25%         99.26%
10/24/2020   Western     Alaska                      4102        79.60%          88.03%            89.32%         89.61%
10/24/2020   Western     Arizona                   121181        97.56%          99.35%            99.48%         99.53%
10/24/2020   Western     Central Plains              7269        96.73%          98.53%            99.04%         99.04%

10/24/2020   Western     Colorado/Wyoming          20655         70.04%         89.62%           91.93%          92.01%
10/24/2020   Western     Dakotas                   10697         96.23%         99.09%           99.70%          99.70%
10/24/2020   Western     Hawkeye                   13339         95.24%         98.03%           98.49%          98.53%
10/24/2020   Western     Mid-Americas               8555         93.79%         97.57%           99.32%          99.49%
10/24/2020   Western     Nevada Sierra             24287         97.85%         99.44%           99.67%          99.70%
10/24/2020   Western     Northland                  6159         97.30%         99.40%           99.71%          99.71%
10/24/2020   Western     Portland                  98868         92.49%         99.08%           99.37%          99.40%
10/24/2020   Western     Salt Lake City            39863         98.78%         99.54%           99.75%          99.81%
10/24/2020   Western     Seattle                   97941         97.75%         99.07%           99.36%          99.42%
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                                                     Measured
                                                     Volume:       Processing     Processing     Processing Score Processing
                                                     Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area             District               Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/26/2020   Capital Metro    Atlanta                        18043        89.44%          94.65%            97.46%         98.50%
10/26/2020   Capital Metro    Baltimore                      18548        91.27%          95.60%            97.90%         98.99%
10/26/2020   Capital Metro    Capital                        14833        93.19%          97.13%            98.89%         99.24%

10/26/2020 Capital Metro      Greater S Carolina            12583         87.12%         93.56%           96.93%          98.30%
10/26/2020 Capital Metro      Greensboro                    17868         82.74%         94.02%           96.31%          97.02%
10/26/2020 Capital Metro      Mid-Carolinas                 11459         86.13%         93.56%           95.01%          95.58%

10/26/2020 Capital Metro      Norther Virginia              19834         93.48%         97.22%           97.78%          98.12%
10/26/2020 Capital Metro      Richmond                      15769         91.18%         96.07%           97.58%          98.21%
10/26/2020 Eastern            Appalachian                    3073         74.91%         81.32%           82.33%          82.69%

10/26/2020   Eastern          Central Pennsylvania          53275         78.78%         92.11%           99.30%          99.49%
10/26/2020   Eastern          Kentuckiana                     918         64.71%         72.11%           74.51%          76.69%
10/26/2020   Eastern          Norther Ohio                  45588         92.64%         97.96%           98.62%          98.86%
10/26/2020   Eastern          Ohio Valley                   31004         94.80%         98.56%           99.12%          99.41%

10/26/2020 Eastern            Philadelphia Metropo          48484         93.02%         95.79%           97.39%          97.78%
10/26/2020 Eastern            South Jersey                  17582         90.89%         94.48%           95.74%          96.38%
10/26/2020 Eastern            Tennessee                      8710         92.82%         97.26%           98.60%          98.92%

10/26/2020 Eastern            Western New York              15462         96.60%         98.65%           99.06%          99.19%

10/26/2020 Eastern            Western Pennsylvania          41689         97.26%         98.88%           99.33%          99.43%
10/26/2020 Great Lakes        Central Illinois              29001         94.36%         97.63%           98.45%          98.78%
10/26/2020 Great Lakes        Chicago                       20186         87.65%         93.08%           94.27%          94.82%
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                                                   Measured
                                                   Volume:       Processing     Processing     Processing Score Processing
                                                   Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area           District               Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/26/2020   Great Lakes    Detroit                        12560        73.74%          93.04%            96.83%         98.07%
10/26/2020   Great Lakes    Gateway                        15005        93.19%          95.75%            96.97%         97.26%
10/26/2020   Great Lakes    Greater Indiana                 3028        79.85%          93.89%            96.73%         98.75%

10/26/2020   Great Lakes    Greater Michigan              14163         87.30%         96.86%           98.32%          98.55%
10/26/2020   Great Lakes    Lakeland                       3361         87.44%         93.25%           95.86%          98.21%
10/26/2020   Northeast      Albany                        22564         96.31%         98.70%           99.26%          99.43%
10/26/2020   Northeast      Caribbean                      4891         98.61%         99.63%           99.75%          99.80%

10/26/2020   Northeast      Connecticut Valley            30956         94.79%         96.83%           97.34%          97.72%
10/26/2020   Northeast      Greater Boston                74170         96.96%         98.66%           98.96%          99.17%
10/26/2020   Northeast      Long Island                   20003         96.02%         97.68%           98.02%          98.24%
10/26/2020   Northeast      New York                      50942         96.48%         98.33%           98.91%          99.05%

10/26/2020 Northeast        Northern New England            2480        84.44%         92.90%           96.81%          99.23%

10/26/2020   Northeast      Northern New Jersey           30041         96.75%         98.04%           98.31%          98.46%
10/26/2020   Northeast      Triboro                       14121         89.11%         91.11%           91.85%          92.04%
10/26/2020   Northeast      Westchester                   14708         94.53%         97.42%           97.89%          98.09%
10/26/2020   Pacific        Bay-Valley                    49841         96.84%         98.03%           98.27%          98.39%
10/26/2020   Pacific        Honolulu                      23808         94.73%         97.46%           97.84%          97.88%
10/26/2020   Pacific        Los Angeles                   42170         96.37%         97.43%           97.96%          98.21%
10/26/2020   Pacific        Sacramento                    46654         97.07%         97.92%           98.09%          98.14%
10/26/2020   Pacific        San Diego                     75582         98.07%         99.28%           99.57%          99.64%
10/26/2020   Pacific        San Francisco                 36453         97.77%         98.81%           99.03%          99.11%
10/26/2020   Pacific        Santa Ana                     35128         97.65%         99.01%           99.36%          99.46%
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                                            Measured
                                            Volume:       Processing     Processing     Processing Score Processing
                                            Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area        District           Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/26/2020   Pacific     Sierra Coastal             34961        97.96%          98.64%            98.87%         98.99%
10/26/2020   Southern    Alabama                     1306        74.20%          92.57%            97.24%         98.16%
10/26/2020   Southern    Arkansas                    1292        91.95%          97.21%            98.45%         99.61%
10/26/2020   Southern    Dallas                      3469        91.99%          97.00%            98.44%         98.67%
10/26/2020   Southern    Ft. Worth                   2267        88.62%          91.93%            93.03%         93.21%
10/26/2020   Southern    Gulf Atlantic              17665        85.84%          94.26%            96.49%         97.28%
10/26/2020   Southern    Houston                    10606        90.23%          95.71%            96.81%         97.29%
10/26/2020   Southern    Louisiana                   1223        74.00%          88.06%            94.93%         97.30%
10/26/2020   Southern    Mississippi                  681        74.01%          86.93%            95.30%         98.09%
10/26/2020   Southern    Oklahoma                     766        78.07%          91.64%            95.82%         98.30%
10/26/2020   Southern    Rio Grande                  4325        87.58%          94.22%            96.44%         98.54%
10/26/2020   Southern    South Florida               7078        90.41%          96.20%            98.02%         98.66%
10/26/2020   Southern    Suncoast                   45705        94.38%          96.92%            97.78%         98.23%
10/26/2020   Western     Alaska                      4399        82.66%          89.97%            92.52%         92.75%
10/26/2020   Western     Arizona                    95078        97.90%          99.10%            99.47%         99.62%
10/26/2020   Western     Central Plains              9839        90.81%          93.16%            94.40%         94.67%

10/26/2020   Western     Colorado/Wyoming          32041         61.57%         78.98%           84.36%          86.43%
10/26/2020   Western     Dakotas                   10344         94.98%         97.87%           98.65%          98.97%
10/26/2020   Western     Hawkeye                   28071         97.56%         98.63%           99.05%          99.15%
10/26/2020   Western     Mid-Americas              10589         86.67%         97.51%           98.67%          99.08%
10/26/2020   Western     Nevada Sierra             19347         87.16%         89.32%           89.81%          89.99%
10/26/2020   Western     Northland                  5421         92.23%         97.29%           98.27%          99.04%
10/26/2020   Western     Portland                  83856         97.24%         98.49%           99.04%          99.23%
10/26/2020   Western     Salt Lake City            36900         97.83%         99.15%           99.41%          99.76%
10/26/2020   Western     Seattle                   80284         96.26%         98.17%           98.69%          98.88%
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                                                     Measured
                                                     Volume:       Processing     Processing     Processing Score Processing
                                                     Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area             District               Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/27/2020   Capital Metro    Atlanta                        10467        40.29%          97.75%            98.68%         99.16%
10/27/2020   Capital Metro    Baltimore                       7042        85.30%          96.48%            97.86%         99.08%
10/27/2020   Capital Metro    Capital                        15714        88.98%          98.71%            99.01%         99.36%

10/27/2020 Capital Metro      Greater S Carolina            12553         80.06%         97.99%           98.81%          99.27%
10/27/2020 Capital Metro      Greensboro                    16026         75.66%         93.85%           95.74%          98.33%
10/27/2020 Capital Metro      Mid-Carolinas                 13789         70.25%         95.11%           95.95%          96.22%

10/27/2020 Capital Metro      Norther Virginia                2505        61.12%         89.62%           91.50%          92.53%
10/27/2020 Capital Metro      Richmond                        7118        82.75%         97.29%           98.09%          98.60%
10/27/2020 Eastern            Appalachian                     1013        49.65%         81.44%           86.97%          89.83%

10/27/2020   Eastern          Central Pennsylvania          15753         57.30%         95.82%           97.93%          99.21%
10/27/2020   Eastern          Kentuckiana                     382         57.07%         82.98%           86.91%          87.96%
10/27/2020   Eastern          Norther Ohio                  35302         91.23%         98.69%           99.04%          99.33%
10/27/2020   Eastern          Ohio Valley                   29399         94.85%         98.15%           99.62%          99.68%

10/27/2020 Eastern            Philadelphia Metropo          30040         96.13%         98.68%           99.18%          99.64%
10/27/2020 Eastern            South Jersey                  29939         96.68%         99.09%           99.23%          99.33%
10/27/2020 Eastern            Tennessee                      6331         92.01%         98.66%           99.19%          99.56%

10/27/2020 Eastern            Western New York              17125         98.20%         99.52%           99.60%          99.63%

10/27/2020 Eastern            Western Pennsylvania          43627         97.25%         99.58%           99.67%          99.89%
10/27/2020 Great Lakes        Central Illinois              18975         85.08%         93.74%           96.77%          99.23%
10/27/2020 Great Lakes        Chicago                       15650         90.04%         93.02%           93.44%          93.62%
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                                                   Measured
                                                   Volume:      Processing     Processing     Processing Score Processing
                                                   Inbound      Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area           District               Ballot       Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/27/2020   Great Lakes    Detroit                        5076        49.11%          93.52%            97.36%         98.07%
10/27/2020   Great Lakes    Gateway                        2665        80.38%          95.23%            96.70%         97.37%
10/27/2020   Great Lakes    Greater Indiana                 935        42.78%          91.34%            94.97%         98.40%

10/27/2020   Great Lakes    Greater Michigan               3825         55.29%         96.50%          98.01%          98.67%
10/27/2020   Great Lakes    Lakeland                        779         55.46%         81.26%          84.21%          86.39%
10/27/2020   Northeast      Albany                         3862         82.50%         97.82%          98.27%          98.52%
10/27/2020   Northeast      Caribbean                     10200         99.57%         99.87%          99.93%          99.97%

10/27/2020   Northeast      Connecticut Valley             2090         75.41%         94.07%          95.89%          96.51%
10/27/2020   Northeast      Greater Boston                25204         93.77%         99.28%          99.56%          99.63%
10/27/2020   Northeast      Long Island                   14716         97.16%         98.53%          98.67%          98.74%
10/27/2020   Northeast      New York                      26061         94.96%         98.90%          99.24%          99.34%

10/27/2020 Northeast        Northern New England             588        59.01%         92.69%          95.58%          97.62%

10/27/2020   Northeast      Northern New Jersey           46025         97.50%         99.37%          99.42%          99.49%
10/27/2020   Northeast      Triboro                       14839         95.52%         96.51%          96.63%          96.64%
10/27/2020   Northeast      Westchester                    2122         70.88%         93.73%          94.34%          94.39%
10/27/2020   Pacific        Bay-Valley                   102178         99.09%         99.60%          99.64%          99.65%
10/27/2020   Pacific        Honolulu                      29267         96.42%         99.67%          99.79%          99.83%
10/27/2020   Pacific        Los Angeles                   83803         99.21%         99.61%          99.67%          99.70%
10/27/2020   Pacific        Sacramento                    85015         97.93%         98.92%          98.94%          98.98%
10/27/2020   Pacific        San Diego                    156117         99.12%         99.82%          99.90%          99.92%
10/27/2020   Pacific        San Francisco                 68177         99.33%         99.72%          99.77%          99.79%
10/27/2020   Pacific        Santa Ana                     65561         99.14%         99.70%          99.75%          99.76%
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                                            Measured
                                            Volume:       Processing     Processing     Processing Score Processing
                                            Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area        District           Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/27/2020   Pacific     Sierra Coastal             54438        98.72%          99.43%            99.47%         99.49%
10/27/2020   Southern    Alabama                      564        53.19%          90.07%            95.39%         97.34%
10/27/2020   Southern    Arkansas                     279        68.46%          92.83%            95.34%         95.70%
10/27/2020   Southern    Dallas                      2053        85.09%          97.03%            98.25%         98.88%
10/27/2020   Southern    Ft. Worth                    755        74.17%          88.87%            90.73%         91.92%
10/27/2020   Southern    Gulf Atlantic              16258        84.91%          97.85%            98.75%         99.13%
10/27/2020   Southern    Houston                     1684        75.65%          91.27%            92.28%         93.59%
10/27/2020   Southern    Louisiana                    485        64.95%          93.61%            95.67%         97.32%
10/27/2020   Southern    Mississippi                  675        84.44%          98.07%            98.37%         98.96%
10/27/2020   Southern    Oklahoma                     374        62.57%          88.50%            92.25%         98.40%
10/27/2020   Southern    Rio Grande                  3294        84.88%          96.60%            98.15%         98.88%
10/27/2020   Southern    South Florida              11178        94.55%          98.81%            99.12%         99.34%
10/27/2020   Southern    Suncoast                   62625        97.13%          99.20%            99.50%         99.63%
10/27/2020   Western     Alaska                      3694        81.89%          93.88%            95.07%         95.26%
10/27/2020   Western     Arizona                   167000        98.35%          99.73%            99.80%         99.85%
10/27/2020   Western     Central Plains              8088        95.62%          98.54%            98.73%         98.99%

10/27/2020   Western     Colorado/Wyoming          29342         77.81%         91.27%           93.52%          95.54%
10/27/2020   Western     Dakotas                   11778         92.65%         99.21%           99.45%          99.65%
10/27/2020   Western     Hawkeye                   20616         97.69%         99.04%           99.18%          99.24%
10/27/2020   Western     Mid-Americas               9817         95.05%         99.23%           99.58%          99.75%
10/27/2020   Western     Nevada Sierra             30930         97.69%         99.47%           99.67%          99.71%
10/27/2020   Western     Northland                  6727         95.50%         99.20%           99.42%          99.63%
10/27/2020   Western     Portland                 102172         97.78%         99.68%           99.84%          99.91%
10/27/2020   Western     Salt Lake City            61697         89.01%         99.70%           99.80%          99.92%
10/27/2020   Western     Seattle                  136681         98.08%         99.65%           99.74%          99.77%
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                                                     Measured
                                                     Volume:       Processing     Processing     Processing Score Processing
                                                     Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area             District               Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/28/2020   Capital Metro    Atlanta                        18904        95.13%          96.58%            98.99%         99.24%
10/28/2020   Capital Metro    Baltimore                      17224        94.31%          94.91%            96.81%         99.43%
10/28/2020   Capital Metro    Capital                        17726        96.50%          97.06%            99.04%         99.38%

10/28/2020 Capital Metro      Greater S Carolina            13530         91.26%         92.57%           97.89%          98.34%
10/28/2020 Capital Metro      Greensboro                    23614         91.06%         91.78%           96.50%          97.21%
10/28/2020 Capital Metro      Mid-Carolinas                 15836         90.19%         91.30%           97.12%          97.52%

10/28/2020 Capital Metro      Norther Virginia              16600         96.99%         97.92%           98.82%          98.93%
10/28/2020 Capital Metro      Richmond                      16387         96.95%         97.71%           99.05%          99.25%
10/28/2020 Eastern            Appalachian                    1967         88.92%         89.43%           93.90%          93.95%

10/28/2020   Eastern          Central Pennsylvania          38824         83.66%         84.15%           98.91%          99.45%
10/28/2020   Eastern          Kentuckiana                     547         62.16%         66.54%           83.91%          85.01%
10/28/2020   Eastern          Norther Ohio                  46794         97.64%         97.98%           99.31%          99.35%
10/28/2020   Eastern          Ohio Valley                   28304         97.97%         98.34%           99.53%          99.78%

10/28/2020 Eastern            Philadelphia Metropo          49717         96.75%         97.08%           98.92%          99.38%
10/28/2020 Eastern            South Jersey                  26979         97.46%         97.76%           98.29%          98.42%
10/28/2020 Eastern            Tennessee                      5806         94.25%         96.35%           99.19%          99.41%

10/28/2020 Eastern            Western New York              16463         98.54%         99.26%           99.68%          99.72%

10/28/2020 Eastern            Western Pennsylvania          41891         98.53%         98.96%           99.80%          99.89%
10/28/2020 Great Lakes        Central Illinois              31744         96.09%         97.48%           99.07%          99.23%
10/28/2020 Great Lakes        Chicago                       20828         95.91%         96.11%           97.19%          97.30%
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                                                   Measured
                                                   Volume:       Processing     Processing     Processing Score Processing
                                                   Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area           District               Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/28/2020   Great Lakes    Detroit                         7276        79.37%          82.49%            95.56%         98.27%
10/28/2020   Great Lakes    Gateway                        11748        95.72%          96.62%            98.48%         98.58%
10/28/2020   Great Lakes    Greater Indiana                 1664        86.54%          91.71%            97.18%         98.44%

10/28/2020   Great Lakes    Greater Michigan               8071         95.49%         97.06%           98.98%          99.13%
10/28/2020   Great Lakes    Lakeland                       2263         93.11%         94.74%           96.64%          96.91%
10/28/2020   Northeast      Albany                        22953         98.30%         98.61%           99.30%          99.44%
10/28/2020   Northeast      Caribbean                      7638         99.50%         99.57%           99.75%          99.79%

10/28/2020   Northeast      Connecticut Valley            13896         98.13%         98.38%           99.01%          99.09%
10/28/2020   Northeast      Greater Boston                66518         97.73%         98.26%           99.53%          99.62%
10/28/2020   Northeast      Long Island                   24083         99.00%         99.15%           99.45%          99.48%
10/28/2020   Northeast      New York                      25263         97.35%         98.16%           99.04%          99.28%

10/28/2020 Northeast        Northern New England            1013        83.12%         88.06%           96.64%          97.14%

10/28/2020   Northeast      Northern New Jersey           43365         97.28%         97.39%           97.98%          98.06%
10/28/2020   Northeast      Triboro                       13972         88.25%         88.53%           88.75%          88.79%
10/28/2020   Northeast      Westchester                   17367         97.90%         98.15%           98.62%          98.66%
10/28/2020   Pacific        Bay-Valley                    83706         99.18%         99.34%           99.48%          99.52%
10/28/2020   Pacific        Honolulu                      39993         98.90%         99.16%           99.64%          99.73%
10/28/2020   Pacific        Los Angeles                   67680         98.86%         99.14%           99.36%          99.39%
10/28/2020   Pacific        Sacramento                    70300         99.33%         99.48%           99.62%          99.64%
10/28/2020   Pacific        San Diego                    135173         99.32%         99.55%           99.80%          99.85%
10/28/2020   Pacific        San Francisco                 49811         98.89%         99.33%           99.56%          99.60%
10/28/2020   Pacific        Santa Ana                     60337         99.66%         99.75%           99.87%          99.90%
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                                            Measured
                                            Volume:       Processing     Processing     Processing Score Processing
                                            Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area        District           Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/28/2020   Pacific     Sierra Coastal             47375        98.82%          99.03%            99.25%         99.29%
10/28/2020   Southern    Alabama                      770        76.49%          80.39%            95.06%         96.62%
10/28/2020   Southern    Arkansas                     883        94.79%          96.15%            98.64%         98.75%
10/28/2020   Southern    Dallas                      3259        94.29%          97.08%            99.11%         99.26%
10/28/2020   Southern    Ft. Worth                   1752        94.58%          95.61%            96.23%         96.29%
10/28/2020   Southern    Gulf Atlantic              20376        94.11%          94.88%            99.06%         99.29%
10/28/2020   Southern    Houston                     7224        95.09%          96.04%            97.13%         97.20%
10/28/2020   Southern    Louisiana                    590        74.58%          81.69%            93.73%         97.80%
10/28/2020   Southern    Mississippi                  601        92.18%          94.18%            98.17%         99.00%
10/28/2020   Southern    Oklahoma                     200        71.50%          84.00%            96.00%         99.00%
10/28/2020   Southern    Rio Grande                  3882        91.96%          94.51%            98.45%         98.92%
10/28/2020   Southern    South Florida               9637        95.12%          96.42%            98.62%         99.03%
10/28/2020   Southern    Suncoast                   52036        96.44%          97.10%            99.31%         99.44%
10/28/2020   Western     Alaska                      5241        93.97%          96.45%            98.78%         99.03%
10/28/2020   Western     Arizona                   160275        98.08%          98.36%            98.71%         98.78%
10/28/2020   Western     Central Plains              7663        96.50%          97.23%            98.02%         98.20%

10/28/2020   Western     Colorado/Wyoming          21272         80.22%         82.53%           89.13%          90.66%
10/28/2020   Western     Dakotas                   10792         96.61%         97.78%           99.58%          99.74%
10/28/2020   Western     Hawkeye                   19950         98.47%         98.83%           99.25%          99.29%
10/28/2020   Western     Mid-Americas               9431         95.64%         97.22%           99.12%          99.39%
10/28/2020   Western     Nevada Sierra             25787         98.04%         98.55%           99.30%          99.39%
10/28/2020   Western     Northland                  5372         97.10%         97.90%           99.16%          99.76%
10/28/2020   Western     Portland                  94635         98.13%         98.31%           99.79%          99.85%
10/28/2020   Western     Salt Lake City            55853         98.11%         98.66%           99.79%          99.86%
10/28/2020   Western     Seattle                  102119         98.23%         99.15%           99.69%          99.75%
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                                                     Measured
                                                     Volume:       Processing     Processing     Processing Score Processing
                                                     Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area             District               Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/29/2020   Capital Metro    Atlanta                        17883        94.08%          95.35%            95.87%         97.01%
10/29/2020   Capital Metro    Baltimore                      19515        95.60%          98.19%            98.67%         99.48%
10/29/2020   Capital Metro    Capital                        15107        95.18%          98.12%            98.56%         99.17%

10/29/2020 Capital Metro      Greater S Carolina            14293         78.95%         95.47%           96.47%          98.43%
10/29/2020 Capital Metro      Greensboro                    20205         89.22%         95.35%           95.94%          97.51%
10/29/2020 Capital Metro      Mid-Carolinas                 16496         86.46%         95.85%           96.48%          97.85%

10/29/2020 Capital Metro      Norther Virginia              14153         95.32%         96.87%           97.27%          98.01%
10/29/2020 Capital Metro      Richmond                      15332         94.08%         98.02%           98.57%          98.93%
10/29/2020 Eastern            Appalachian                    1973         90.17%         94.37%           95.18%          96.30%

10/29/2020   Eastern          Central Pennsylvania          41673         70.07%         96.99%           97.24%          99.50%
10/29/2020   Eastern          Kentuckiana                     877         86.66%         86.89%           89.97%          91.90%
10/29/2020   Eastern          Norther Ohio                  31311         86.47%         98.25%           98.35%          98.60%
10/29/2020   Eastern          Ohio Valley                   26217         95.62%         98.11%           98.49%          98.84%

10/29/2020 Eastern            Philadelphia Metropo          27526         91.42%         95.72%           96.40%          98.58%
10/29/2020 Eastern            South Jersey                  21915         95.45%         97.16%           97.36%          98.21%
10/29/2020 Eastern            Tennessee                      5903         96.80%         97.41%           98.20%          98.90%

10/29/2020 Eastern            Western New York              14903         96.76%         97.96%           98.99%          99.15%

10/29/2020 Eastern            Western Pennsylvania          29827         97.41%         99.20%           99.36%          99.53%
10/29/2020 Great Lakes        Central Illinois              29906         96.88%         97.78%           98.38%          99.01%
10/29/2020 Great Lakes        Chicago                       22642         95.43%         96.68%           96.84%          97.01%
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                                                   Measured
                                                   Volume:      Processing     Processing     Processing Score Processing
                                                   Inbound      Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area           District               Ballot       Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/29/2020   Great Lakes    Detroit                        8800        78.14%          92.28%            93.95%         98.43%
10/29/2020   Great Lakes    Gateway                        8317        93.38%          96.00%            96.36%         96.97%
10/29/2020   Great Lakes    Greater Indiana                1703        84.62%          88.78%            94.77%         98.94%

10/29/2020   Great Lakes    Greater Michigan               7636         89.75%         95.64%          96.83%          97.60%
10/29/2020   Great Lakes    Lakeland                       2662         94.70%         96.32%          97.75%          98.35%
10/29/2020   Northeast      Albany                        15832         96.84%         99.08%          99.31%          99.51%
10/29/2020   Northeast      Caribbean                      5072         99.76%         99.76%          99.80%          99.92%

10/29/2020   Northeast      Connecticut Valley            10876         95.54%         97.99%          98.44%          98.81%
10/29/2020   Northeast      Greater Boston                31458         92.75%         97.98%          98.65%          98.90%
10/29/2020   Northeast      Long Island                   18676         97.03%         98.40%          98.86%          99.00%
10/29/2020   Northeast      New York                      31890         97.13%         98.66%          98.85%          99.27%

10/29/2020 Northeast        Northern New England           1108         82.49%         91.88%          94.58%          99.10%

10/29/2020   Northeast      Northern New Jersey           35805         97.59%         98.66%          98.73%          98.92%
10/29/2020   Northeast      Triboro                       13313         92.65%         94.26%          94.34%          94.48%
10/29/2020   Northeast      Westchester                   13149         95.98%         97.96%          98.27%          98.64%
10/29/2020   Pacific        Bay-Valley                    67474         98.47%         98.75%          98.95%          99.10%
10/29/2020   Pacific        Honolulu                      20019         91.92%         93.75%          95.15%          99.61%
10/29/2020   Pacific        Los Angeles                   58455         98.34%         98.98%          99.06%          99.25%
10/29/2020   Pacific        Sacramento                    58549         98.56%         98.86%          98.98%          99.05%
10/29/2020   Pacific        San Diego                     96674         99.32%         99.44%          99.62%          99.73%
10/29/2020   Pacific        San Francisco                 41278         98.74%         98.90%          99.09%          99.27%
10/29/2020   Pacific        Santa Ana                     50071         98.59%         99.61%          99.78%          99.85%
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                                            Measured
                                            Volume:       Processing     Processing     Processing Score Processing
                                            Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area        District           Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/29/2020   Pacific     Sierra Coastal             42070        98.57%          99.04%            99.17%         99.28%
10/29/2020   Southern    Alabama                     1201        90.51%          91.59%            93.51%         95.75%
10/29/2020   Southern    Arkansas                    1097        97.36%          97.90%            98.45%         98.81%
10/29/2020   Southern    Dallas                      3914        95.30%          95.71%            97.39%         98.65%
10/29/2020   Southern    Ft. Worth                   1808        93.86%          94.47%            94.69%         95.52%
10/29/2020   Southern    Gulf Atlantic              16621        95.98%          97.26%            98.35%         99.31%
10/29/2020   Southern    Houston                     9706        96.55%          97.07%            97.37%         97.83%
10/29/2020   Southern    Louisiana                   1054        94.02%          94.59%            96.11%         98.20%
10/29/2020   Southern    Mississippi                  584        95.89%          96.40%            98.46%         99.14%
10/29/2020   Southern    Oklahoma                     569        84.18%          86.12%            90.86%         94.55%
10/29/2020   Southern    Rio Grande                  3907        94.68%          95.29%            96.39%         97.85%
10/29/2020   Southern    South Florida               7520        96.33%          96.90%            97.57%         98.71%
10/29/2020   Southern    Suncoast                   37397        98.01%          98.32%            98.75%         99.12%
10/29/2020   Western     Alaska                      4365        85.50%          86.74%            88.22%         96.31%
10/29/2020   Western     Arizona                    66362        98.38%          98.58%            98.95%         99.30%
10/29/2020   Western     Central Plains              7768        94.16%          96.24%            96.70%         97.55%

10/29/2020   Western     Colorado/Wyoming          18380         72.50%         76.97%           80.27%          88.08%
10/29/2020   Western     Dakotas                    8537         97.47%         97.90%           98.65%          99.27%
10/29/2020   Western     Hawkeye                   16906         97.60%         98.59%           98.79%          99.01%
10/29/2020   Western     Mid-Americas               7925         95.36%         97.60%           98.07%          99.02%
10/29/2020   Western     Nevada Sierra             25404         98.17%         99.14%           99.39%          99.59%
10/29/2020   Western     Northland                  5800         85.72%         91.47%           91.78%          99.43%
10/29/2020   Western     Portland                  47153         97.47%         98.54%           98.91%          99.06%
10/29/2020   Western     Salt Lake City            44389         97.66%         99.15%           99.40%          99.74%
10/29/2020   Western     Seattle                   81286         98.16%         98.93%           99.26%          99.38%
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                                                     Measured
                                                     Volume:       Processing     Processing     Processing Score Processing
                                                     Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area             District               Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/30/2020   Capital Metro    Atlanta                        12165        84.23%          95.02%            95.59%         95.95%
10/30/2020   Capital Metro    Baltimore                      16644        92.42%          96.46%            97.61%         97.88%
10/30/2020   Capital Metro    Capital                        16144        93.63%          97.94%            98.42%         98.51%

10/30/2020 Capital Metro      Greater S Carolina            13197         85.95%         94.52%           96.57%          96.86%
10/30/2020 Capital Metro      Greensboro                    18627         84.91%         92.71%           95.97%          96.19%
10/30/2020 Capital Metro      Mid-Carolinas                 12572         80.77%         92.87%           96.44%          96.83%

10/30/2020 Capital Metro      Norther Virginia              22045         90.51%         97.30%           97.52%          97.62%
10/30/2020 Capital Metro      Richmond                      16964         92.43%         97.98%           98.92%          99.05%
10/30/2020 Eastern            Appalachian                    2008         91.04%         95.67%           96.12%          96.56%

10/30/2020   Eastern          Central Pennsylvania          38004         77.20%         95.73%           98.26%          98.47%
10/30/2020   Eastern          Kentuckiana                     850         77.06%         88.24%           88.24%          89.76%
10/30/2020   Eastern          Norther Ohio                  31352         95.21%         97.96%           98.68%          98.74%
10/30/2020   Eastern          Ohio Valley                   25206         94.05%         98.16%           99.04%          99.12%

10/30/2020 Eastern            Philadelphia Metropo          14919         83.60%         93.87%           97.39%          97.84%
10/30/2020 Eastern            South Jersey                  16452         91.70%         94.39%           95.98%          96.08%
10/30/2020 Eastern            Tennessee                      6816         91.52%         97.48%           97.56%          97.96%

10/30/2020 Eastern            Western New York              15066         97.01%         99.24%           99.29%          99.33%

10/30/2020 Eastern            Western Pennsylvania          16676         90.08%         98.02%           98.46%          98.63%
10/30/2020 Great Lakes        Central Illinois              26205         91.52%         97.42%           97.63%          97.92%
10/30/2020 Great Lakes        Chicago                       15293         94.08%         96.55%           96.65%          96.76%
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                                                   Measured
                                                   Volume:      Processing     Processing     Processing Score Processing
                                                   Inbound      Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area           District               Ballot       Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/30/2020   Great Lakes    Detroit                        7868        77.81%          89.68%            95.91%         96.86%
10/30/2020   Great Lakes    Gateway                        8579        91.36%          96.96%            97.31%         97.58%
10/30/2020   Great Lakes    Greater Indiana                1279        73.73%          94.61%            95.23%         96.40%

10/30/2020   Great Lakes    Greater Michigan               6526         88.61%         96.17%          96.57%          96.94%
10/30/2020   Great Lakes    Lakeland                       2138         89.71%         94.48%          95.65%          96.21%
10/30/2020   Northeast      Albany                        19828         96.40%         99.18%          99.43%          99.49%
10/30/2020   Northeast      Caribbean                      3617         98.40%         99.36%          99.36%          99.47%

10/30/2020   Northeast      Connecticut Valley            11900         93.34%         97.81%          98.31%          98.44%
10/30/2020   Northeast      Greater Boston                26167         93.71%         98.07%          98.32%          98.49%
10/30/2020   Northeast      Long Island                   19290         95.89%         98.39%          98.61%          98.64%
10/30/2020   Northeast      New York                      34719         95.03%         98.54%          98.87%          99.05%

10/30/2020 Northeast        Northern New England           1028         76.46%         90.56%          90.76%          92.41%

10/30/2020   Northeast      Northern New Jersey           26862         97.35%         98.78%          98.94%          98.97%
10/30/2020   Northeast      Triboro                       10760         90.80%         93.92%          94.32%          94.37%
10/30/2020   Northeast      Westchester                   16747         95.91%         98.91%          99.19%          99.25%
10/30/2020   Pacific        Bay-Valley                    49564         98.18%         99.06%          99.15%          99.22%
10/30/2020   Pacific        Honolulu                       7075         92.52%         94.28%          95.56%          97.03%
10/30/2020   Pacific        Los Angeles                   47917         98.53%         99.16%          99.17%          99.23%
10/30/2020   Pacific        Sacramento                    44381         98.25%         99.34%          99.40%          99.43%
10/30/2020   Pacific        San Diego                     76862         98.03%         99.66%          99.67%          99.73%
10/30/2020   Pacific        San Francisco                 35675         96.20%         98.92%          99.03%          99.05%
10/30/2020   Pacific        Santa Ana                     43716         98.70%         99.58%          99.62%          99.62%
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                                            Measured
                                            Volume:       Processing     Processing     Processing Score Processing
                                            Inbound       Score:         Score Plus 1:  Plus 2: Inbound Score Plus 3:
Date         Area        District           Ballot        Inbound Ballot Inbound Ballot Ballot            Inbound Ballot
10/30/2020   Pacific     Sierra Coastal             38376        97.86%          98.93%            98.95%         99.01%
10/30/2020   Southern    Alabama                     1574        80.69%          92.88%            93.20%         93.71%
10/30/2020   Southern    Arkansas                    1253        93.77%          97.37%            97.37%         97.69%
10/30/2020   Southern    Dallas                      5270        91.20%          97.65%            97.65%         97.84%
10/30/2020   Southern    Ft. Worth                   2269        85.94%          93.17%            94.58%         94.71%
10/30/2020   Southern    Gulf Atlantic              14962        88.03%          95.54%            96.32%         96.67%
10/30/2020   Southern    Houston                     4926        87.39%          92.02%            92.25%         92.73%
10/30/2020   Southern    Louisiana                   1125        85.69%          96.09%            96.09%         96.98%
10/30/2020   Southern    Mississippi                  638        81.19%          95.14%            95.30%         97.02%
10/30/2020   Southern    Oklahoma                    1089        75.94%          95.50%            95.50%         97.89%
10/30/2020   Southern    Rio Grande                  4438        86.62%          95.61%            95.72%         96.39%
10/30/2020   Southern    South Florida               7049        90.06%          97.15%            97.21%         97.73%
10/30/2020   Southern    Suncoast                   30152        93.98%          98.07%            98.12%         98.28%
10/30/2020   Western     Alaska                      5589        91.07%          95.85%            97.05%         97.42%
10/30/2020   Western     Arizona                    32808        91.47%          97.84%            98.02%         98.28%
10/30/2020   Western     Central Plains              6494        92.56%          96.49%            96.64%         97.27%

10/30/2020   Western     Colorado/Wyoming          20338         61.40%         75.54%           76.31%          79.91%
10/30/2020   Western     Dakotas                    7851         94.50%         98.24%           98.28%          98.65%
10/30/2020   Western     Hawkeye                   14528         95.27%         98.36%           98.64%          98.82%
10/30/2020   Western     Mid-Americas               6892         89.79%         98.22%           98.40%          98.81%
10/30/2020   Western     Nevada Sierra             20485         97.55%         99.34%           99.37%          99.53%
10/30/2020   Western     Northland                  4334         92.69%         97.74%           97.95%          98.57%
10/30/2020   Western     Portland                  30587         95.64%         98.58%           99.08%          99.23%
10/30/2020   Western     Salt Lake City            55181         98.27%         99.53%           99.57%          99.70%
10/30/2020   Western     Seattle                   74532         94.65%         98.65%           98.80%          98.99%
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                                                     Measured       Processing      Processing       Processing      Processing
                                                     Volume:        Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                                     Outbound       Outbound        Outbound         Outbound        Outbound
Date         Area             District               Ballot         Ballot          Ballot           Ballot          Ballot
10/24/2020   Capital Metro    Atlanta                        4302           1.74%            7.39%          82.57%           82.59%
10/24/2020   Capital Metro    Baltimore                      2069          96.86%           98.16%          98.36%           98.65%
10/24/2020   Capital Metro    Capital                         176          49.43%           85.23%          89.77%           90.91%

10/24/2020 Capital Metro      Greater S Carolina              95          36.84%           64.21%          80.00%           81.05%
10/24/2020 Capital Metro      Greensboro                    2111          97.25%           99.43%          99.48%           99.53%
10/24/2020 Capital Metro      Mid-Carolinas                  666          91.14%           96.40%          97.45%           97.45%

10/24/2020 Capital Metro      Norther Virginia                54          44.44%           92.59%          92.59%           92.59%
10/24/2020 Capital Metro      Richmond                        59          84.75%           94.92%          98.31%           98.31%
10/24/2020 Eastern            Appalachian                     70          68.57%           90.00%          98.57%           98.57%

10/24/2020   Eastern          Central Pennsylvania          3917           1.33%           99.46%          99.46%           99.46%
10/24/2020   Eastern          Kentuckiana                     36          61.11%           83.33%          86.11%           86.11%
10/24/2020   Eastern          Norther Ohio                  4549           4.86%           98.88%          98.94%           98.97%
10/24/2020   Eastern          Ohio Valley                   1117          95.08%           98.12%          98.12%           98.12%

10/24/2020 Eastern            Philadelphia Metropo           199          39.70%           54.77%          56.28%           56.28%
10/24/2020 Eastern            South Jersey                509553          99.97%           99.97%          99.97%           99.97%
10/24/2020 Eastern            Tennessee                      124          39.52%           87.10%          92.74%           92.74%

10/24/2020 Eastern            Western New York                28          57.14%          100.00%         100.00%          100.00%

10/24/2020 Eastern            Western Pennsylvania         19008          98.12%           98.86%          99.46%           99.82%
10/24/2020 Great Lakes        Central Illinois              1016           2.76%           68.70%          99.51%           99.51%
10/24/2020 Great Lakes        Chicago                         59          81.36%           94.92%          98.31%           98.31%
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                                                   Measured       Processing      Processing       Processing      Processing
                                                   Volume:        Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                                   Outbound       Outbound        Outbound         Outbound        Outbound
Date         Area           District               Ballot         Ballot          Ballot           Ballot          Ballot
10/24/2020   Great Lakes    Detroit                         498          80.12%           85.94%          86.55%           97.19%
10/24/2020   Great Lakes    Gateway                        2615          83.82%           97.48%          98.93%           98.93%
10/24/2020   Great Lakes    Greater Indiana                 125          78.40%           86.40%          94.40%           94.40%

10/24/2020   Great Lakes    Greater Michigan              2943          83.55%           87.39%          96.94%           98.88%
10/24/2020   Great Lakes    Lakeland                       108          26.85%           49.07%          74.07%           74.07%
10/24/2020   Northeast      Albany                          18          66.67%           88.89%          94.44%           94.44%
10/24/2020   Northeast      Caribbean                        4         100.00%          100.00%         100.00%          100.00%

10/24/2020   Northeast      Connecticut Valley           22989          98.84%           98.89%         100.00%          100.00%
10/24/2020   Northeast      Greater Boston                 116          87.07%           94.83%          95.69%           95.69%
10/24/2020   Northeast      Long Island                     12          83.33%          100.00%         100.00%          100.00%
10/24/2020   Northeast      New York                        53          90.57%           94.34%          94.34%           94.34%

10/24/2020 Northeast        Northern New England            22          81.82%           95.45%          95.45%           95.45%

10/24/2020   Northeast      Northern New Jersey          22594          99.58%           99.64%          99.66%           99.66%
10/24/2020   Northeast      Triboro                         72          73.61%           90.28%          97.22%           97.22%
10/24/2020   Northeast      Westchester                     16          81.25%          100.00%         100.00%          100.00%
10/24/2020   Pacific        Bay-Valley                     125          21.60%           43.20%          43.20%           43.20%
10/24/2020   Pacific        Honolulu                        65          32.31%           36.92%          36.92%           36.92%
10/24/2020   Pacific        Los Angeles                    190          80.00%           84.21%          84.21%           84.74%
10/24/2020   Pacific        Sacramento                    2952          81.30%           94.44%          94.51%           94.82%
10/24/2020   Pacific        San Diego                    12403          99.70%           99.87%          99.91%           99.93%
10/24/2020   Pacific        San Francisco                   42          40.48%           59.52%          59.52%           64.29%
10/24/2020   Pacific        Santa Ana                    10311          96.62%           96.68%          98.78%           98.79%
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                                            Measured       Processing      Processing       Processing      Processing
                                            Volume:        Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                            Outbound       Outbound        Outbound         Outbound        Outbound
Date         Area        District           Ballot         Ballot          Ballot           Ballot          Ballot
10/24/2020   Pacific     Sierra Coastal             3689          99.30%           99.59%          99.59%           99.65%
10/24/2020   Southern    Alabama                      55          34.55%           80.00%          89.09%           89.09%
10/24/2020   Southern    Arkansas                     31          45.16%           96.77%          96.77%           96.77%
10/24/2020   Southern    Dallas                       23          69.57%           86.96%          86.96%           86.96%
10/24/2020   Southern    Ft. Worth                   650          97.38%           98.15%          99.69%           99.69%
10/24/2020   Southern    Gulf Atlantic              1979           3.59%           13.69%          84.99%           91.26%
10/24/2020   Southern    Houston                      41          19.51%           80.49%          82.93%           82.93%
10/24/2020   Southern    Louisiana                    25          32.00%           68.00%          72.00%           72.00%
10/24/2020   Southern    Mississippi                  38          36.84%           84.21%          94.74%           94.74%
10/24/2020   Southern    Oklahoma                     20          70.00%           80.00%          85.00%           90.00%
10/24/2020   Southern    Rio Grande                   54          55.56%           83.33%          90.74%           90.74%
10/24/2020   Southern    South Florida               137          22.63%           33.58%          34.31%           68.61%
10/24/2020   Southern    Suncoast                  29962          60.61%           61.67%          62.24%           99.06%
10/24/2020   Western     Alaska                       25          36.00%           44.00%          44.00%           72.00%
10/24/2020   Western     Arizona                   41652          79.03%           84.27%          97.19%           97.42%
10/24/2020   Western     Central Plains               35          68.57%           77.14%          80.00%           80.00%

10/24/2020   Western     Colorado/Wyoming          2124          66.20%           79.57%          94.07%           94.21%
10/24/2020   Western     Dakotas                     54          29.63%           79.63%          81.48%           81.48%
10/24/2020   Western     Hawkeye                     44          47.73%           90.91%         100.00%          100.00%
10/24/2020   Western     Mid-Americas               165          69.09%           70.91%          72.73%           73.94%
10/24/2020   Western     Nevada Sierra              674          67.66%           75.52%          77.15%           77.45%
10/24/2020   Western     Northland                  407          15.72%           79.36%          87.47%           87.47%
10/24/2020   Western     Portland                   113          14.16%           28.32%          31.86%           31.86%
10/24/2020   Western     Salt Lake City            3881          96.44%           96.50%          96.70%           97.29%
10/24/2020   Western     Seattle                    435           5.98%           11.95%          12.87%           16.09%
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                                                     Measured       Processing      Processing       Processing      Processing
                                                     Volume:        Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                                     Outbound       Outbound        Outbound         Outbound        Outbound
Date         Area             District               Ballot         Ballot          Ballot           Ballot          Ballot
10/26/2020   Capital Metro    Atlanta                        5430           1.66%            1.80%           2.08%           27.31%
10/26/2020   Capital Metro    Baltimore                     41943          90.56%           91.85%          91.87%           91.88%
10/26/2020   Capital Metro    Capital                       14447          99.74%           99.84%          99.91%           99.92%

10/26/2020 Capital Metro      Greater S Carolina             163          56.44%           64.42%          82.82%           84.66%
10/26/2020 Capital Metro      Greensboro                    1633          97.49%           98.16%          99.14%           99.45%
10/26/2020 Capital Metro      Mid-Carolinas                  748          97.46%           97.99%          99.33%          100.00%

10/26/2020 Capital Metro      Norther Virginia               147          85.71%           89.80%          99.32%           99.32%
10/26/2020 Capital Metro      Richmond                       277          35.02%           37.55%          37.55%           98.92%
10/26/2020 Eastern            Appalachian                     57          66.67%           71.93%          89.47%           92.98%

10/26/2020   Eastern          Central Pennsylvania           707           7.78%           14.99%          97.31%           97.31%
10/26/2020   Eastern          Kentuckiana                     74          78.38%           78.38%          95.95%           97.30%
10/26/2020   Eastern          Norther Ohio                  2492          35.83%           62.68%          86.24%           86.28%
10/26/2020   Eastern          Ohio Valley                    763          22.15%           97.38%          97.51%           97.51%

10/26/2020 Eastern            Philadelphia Metropo         18346          95.06%           95.30%          99.42%           99.45%
10/26/2020 Eastern            South Jersey                341435          99.96%           99.98%          99.98%           99.98%
10/26/2020 Eastern            Tennessee                      192          79.17%           85.94%          93.23%           96.88%

10/26/2020 Eastern            Western New York                46          97.83%           97.83%         100.00%          100.00%

10/26/2020 Eastern            Western Pennsylvania          2313          25.29%           91.57%          93.77%           96.07%
10/26/2020 Great Lakes        Central Illinois              4457          78.12%           78.12%          95.38%           99.93%
10/26/2020 Great Lakes        Chicago                        138          76.81%           83.33%          92.75%           97.83%
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                                                   Measured   Processing      Processing       Processing      Processing
                                                   Volume:    Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                                   Outbound   Outbound        Outbound         Outbound        Outbound
Date         Area           District               Ballot     Ballot          Ballot           Ballot          Ballot
10/26/2020   Great Lakes    Detroit                        97        49.48%           60.82%          75.26%           75.26%
10/26/2020   Great Lakes    Gateway                      7145        98.80%           98.88%          99.26%           99.44%
10/26/2020   Great Lakes    Greater Indiana               210        92.38%           93.81%          97.14%           98.57%

10/26/2020   Great Lakes    Greater Michigan             1653        7.32%           28.01%          48.22%           98.85%
10/26/2020   Great Lakes    Lakeland                      594       12.96%           14.81%          16.67%           96.80%
10/26/2020   Northeast      Albany                        137       93.43%           94.16%         100.00%          100.00%
10/26/2020   Northeast      Caribbean                      31       32.26%           32.26%          32.26%           32.26%

10/26/2020   Northeast      Connecticut Valley            417       98.08%           98.08%         100.00%          100.00%
10/26/2020   Northeast      Greater Boston                270       88.15%           88.15%          98.52%           99.26%
10/26/2020   Northeast      Long Island                    42       90.48%           90.48%          92.86%          100.00%
10/26/2020   Northeast      New York                      404       94.06%           96.78%          99.01%           99.75%

10/26/2020 Northeast        Northern New England              94    91.49%           95.74%         100.00%          100.00%

10/26/2020   Northeast      Northern New Jersey        560231       97.47%           99.99%          99.99%           99.99%
10/26/2020   Northeast      Triboro                       219       94.06%           95.89%          97.72%           98.63%
10/26/2020   Northeast      Westchester                    70       97.14%           98.57%         100.00%          100.00%
10/26/2020   Pacific        Bay-Valley                    154       43.51%           46.10%          51.30%           51.30%
10/26/2020   Pacific        Honolulu                       74       62.16%           66.22%          71.62%           71.62%
10/26/2020   Pacific        Los Angeles                   140       72.86%           72.86%          81.43%           81.43%
10/26/2020   Pacific        Sacramento                   3678       95.49%           95.89%          96.33%           97.04%
10/26/2020   Pacific        San Diego                     252       84.13%           86.90%          87.70%           89.29%
10/26/2020   Pacific        San Francisco                  60       78.33%           78.33%          80.00%           80.00%
10/26/2020   Pacific        Santa Ana                   10087       98.77%           98.94%          99.01%           99.04%
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                                            Measured       Processing      Processing       Processing      Processing
                                            Volume:        Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                            Outbound       Outbound        Outbound         Outbound        Outbound
Date         Area        District           Ballot         Ballot          Ballot           Ballot          Ballot
10/26/2020   Pacific     Sierra Coastal             5459          86.96%           99.08%          99.32%           99.32%
10/26/2020   Southern    Alabama                     125          58.40%           61.60%          92.00%           97.60%
10/26/2020   Southern    Arkansas                     48          87.50%           89.58%          97.92%           97.92%
10/26/2020   Southern    Dallas                      105          84.76%           91.43%          97.14%           98.10%
10/26/2020   Southern    Ft. Worth                   334          14.97%           95.81%          97.60%           98.50%
10/26/2020   Southern    Gulf Atlantic              1193          10.23%           12.15%          19.87%           88.77%
10/26/2020   Southern    Houston                      90          84.44%           91.11%          98.89%           98.89%
10/26/2020   Southern    Louisiana                   103          55.34%           60.19%          72.82%           72.82%
10/26/2020   Southern    Mississippi                  43          67.44%           74.42%          90.70%           93.02%
10/26/2020   Southern    Oklahoma                     80          90.00%           96.25%        100.00%           100.00%
10/26/2020   Southern    Rio Grande                  116          85.34%           87.93%          93.10%           99.14%
10/26/2020   Southern    South Florida                76          80.26%           85.53%          92.11%           92.11%
10/26/2020   Southern    Suncoast                  20135          72.18%           75.63%          76.12%           76.49%
10/26/2020   Western     Alaska                       16          62.50%           81.25%          87.50%           87.50%
10/26/2020   Western     Arizona                   44927          83.60%           88.37%          92.45%           97.58%
10/26/2020   Western     Central Plains              181          28.73%           28.73%          32.60%           34.25%

10/26/2020   Western     Colorado/Wyoming          2905          48.06%           82.10%          92.05%           92.87%
10/26/2020   Western     Dakotas                     61          55.74%           57.38%          72.13%           73.77%
10/26/2020   Western     Hawkeye                     61          81.97%           85.25%          95.08%           96.72%
10/26/2020   Western     Mid-Americas               111          81.08%           83.78%          89.19%           91.89%
10/26/2020   Western     Nevada Sierra             1008          61.61%           79.27%          80.46%           81.65%
10/26/2020   Western     Northland                  841          85.37%           86.80%          95.48%           96.79%
10/26/2020   Western     Portland                   179          59.78%           62.01%          66.48%           68.16%
10/26/2020   Western     Salt Lake City            2956          88.46%           88.84%          94.76%           95.60%
10/26/2020   Western     Seattle                    762          12.47%           13.25%          17.72%           35.04%
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                                                     Measured       Processing      Processing       Processing      Processing
                                                     Volume:        Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                                     Outbound       Outbound        Outbound         Outbound        Outbound
Date         Area             District               Ballot         Ballot          Ballot           Ballot          Ballot
10/27/2020   Capital Metro    Atlanta                       15382           0.38%            0.41%           0.42%            0.44%
10/27/2020   Capital Metro    Baltimore                     43006          66.13%           66.14%          66.82%           66.83%
10/27/2020   Capital Metro    Capital                       24781          99.95%           99.98%          99.98%           99.98%

10/27/2020 Capital Metro      Greater S Carolina             122          64.75%           87.70%          90.98%           96.72%
10/27/2020 Capital Metro      Greensboro                    1743          98.45%           98.91%          98.97%           99.31%
10/27/2020 Capital Metro      Mid-Carolinas                 2248          88.70%           99.33%          99.42%           99.78%

10/27/2020 Capital Metro      Norther Virginia                32          65.63%           93.75%          96.88%           96.88%
10/27/2020 Capital Metro      Richmond                       105          86.67%           99.05%          99.05%           99.05%
10/27/2020 Eastern            Appalachian                     70          37.14%           45.71%          45.71%           45.71%

10/27/2020   Eastern          Central Pennsylvania           371          22.91%           27.76%          33.42%           99.73%
10/27/2020   Eastern          Kentuckiana                     48           8.33%           20.83%          20.83%           95.83%
10/27/2020   Eastern          Norther Ohio                   393           9.92%           16.03%          30.03%           94.40%
10/27/2020   Eastern          Ohio Valley                     67          38.81%           67.16%          83.58%           91.04%

10/27/2020 Eastern            Philadelphia Metropo           479          86.01%           91.02%          96.24%           99.37%
10/27/2020 Eastern            South Jersey                  4591          99.76%           99.83%          99.87%           99.87%
10/27/2020 Eastern            Tennessee                       34          64.71%           94.12%          97.06%          100.00%

10/27/2020 Eastern            Western New York                56          94.64%           96.43%          96.43%           98.21%

10/27/2020 Eastern            Western Pennsylvania          7186          97.36%           99.47%          99.67%           99.82%
10/27/2020 Great Lakes        Central Illinois               328           9.15%           18.29%          18.29%           98.78%
10/27/2020 Great Lakes        Chicago                         48          64.58%           77.08%          79.17%           81.25%
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                                                   Measured   Processing      Processing       Processing      Processing
                                                   Volume:    Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                                   Outbound   Outbound        Outbound         Outbound        Outbound
Date         Area           District               Ballot     Ballot          Ballot           Ballot          Ballot
10/27/2020   Great Lakes    Detroit                        31        35.48%           83.87%          83.87%           93.55%
10/27/2020   Great Lakes    Gateway                       154        42.21%           87.66%          88.96%           88.96%
10/27/2020   Great Lakes    Greater Indiana                83        63.86%           90.36%          92.77%           95.18%

10/27/2020   Great Lakes    Greater Michigan             1169        1.11%           13.34%          99.66%           99.83%
10/27/2020   Great Lakes    Lakeland                       41       82.93%           85.37%          85.37%           85.37%
10/27/2020   Northeast      Albany                          8       62.50%           75.00%          75.00%           75.00%
10/27/2020   Northeast      Caribbean                      66       28.79%           28.79%          28.79%           28.79%

10/27/2020   Northeast      Connecticut Valley             25       56.00%           80.00%          80.00%           80.00%
10/27/2020   Northeast      Greater Boston                195       91.28%           94.87%          94.87%           96.41%
10/27/2020   Northeast      Long Island                    36       80.56%           83.33%          86.11%           86.11%
10/27/2020   Northeast      New York                       33       21.21%           72.73%          75.76%           75.76%

10/27/2020 Northeast        Northern New England              15    66.67%           73.33%          73.33%           80.00%

10/27/2020   Northeast      Northern New Jersey        370955       99.96%           99.98%          99.99%          100.00%
10/27/2020   Northeast      Triboro                        50       32.00%           34.00%          34.00%           86.00%
10/27/2020   Northeast      Westchester                    13       76.92%          100.00%         100.00%          100.00%
10/27/2020   Pacific        Bay-Valley                     37       56.76%           64.86%          67.57%           67.57%
10/27/2020   Pacific        Honolulu                       25       92.00%          100.00%         100.00%          100.00%
10/27/2020   Pacific        Los Angeles                   253       17.39%           19.76%          96.84%           96.84%
10/27/2020   Pacific        Sacramento                     26       38.46%           50.00%          57.69%           65.38%
10/27/2020   Pacific        San Diego                     408       13.48%           16.42%          76.96%           77.21%
10/27/2020   Pacific        San Francisco                  26       84.62%          100.00%         100.00%          100.00%
10/27/2020   Pacific        Santa Ana                     511       26.61%           29.55%          99.61%           99.61%
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                                            Measured       Processing       Processing       Processing      Processing
                                            Volume:        Score:           Score Plus 1:    Score Plus 2:   Score Plus 3:
                                            Outbound       Outbound         Outbound         Outbound        Outbound
Date         Area        District           Ballot         Ballot           Ballot           Ballot          Ballot
10/27/2020   Pacific     Sierra Coastal             1527           98.49%           99.48%          99.61%           99.67%
10/27/2020   Southern    Alabama                      20           60.00%           70.00%          70.00%           75.00%
10/27/2020   Southern    Arkansas                      5           80.00%           80.00%          80.00%           80.00%
10/27/2020   Southern    Dallas                       27           59.26%           66.67%          70.37%           70.37%
10/27/2020   Southern    Ft. Worth                    53           28.30%           41.51%          79.25%          100.00%
10/27/2020   Southern    Gulf Atlantic               306           16.67%           24.18%          25.82%           26.80%
10/27/2020   Southern    Houston                      40           70.00%           85.00%          87.50%           90.00%
10/27/2020   Southern    Louisiana                    30           83.33%           93.33%          93.33%           93.33%
10/27/2020   Southern    Mississippi                   7          100.00%          100.00%        100.00%           100.00%
10/27/2020   Southern    Oklahoma                     51           37.25%           41.18%          41.18%           90.20%
10/27/2020   Southern    Rio Grande                   66           46.97%           57.58%          57.58%           77.27%
10/27/2020   Southern    South Florida                78           84.62%          100.00%        100.00%           100.00%
10/27/2020   Southern    Suncoast                   5959           90.97%           94.50%          94.88%           97.26%
10/27/2020   Western     Alaska                        7           42.86%           71.43%        100.00%           100.00%
10/27/2020   Western     Arizona                    4783           19.86%           50.30%          56.09%           65.29%
10/27/2020   Western     Central Plains               17           52.94%           70.59%          70.59%           70.59%

10/27/2020   Western     Colorado/Wyoming          1791            2.40%           62.70%          78.56%           86.66%
10/27/2020   Western     Dakotas                     51           19.61%           35.29%          39.22%           41.18%
10/27/2020   Western     Hawkeye                     12           75.00%          100.00%         100.00%          100.00%
10/27/2020   Western     Mid-Americas                23           56.52%           82.61%          82.61%           82.61%
10/27/2020   Western     Nevada Sierra               94           24.47%           25.53%          31.91%           31.91%
10/27/2020   Western     Northland                 1875           86.88%           98.93%          98.93%           99.79%
10/27/2020   Western     Portland                   239            6.69%           10.04%          95.40%           95.40%
10/27/2020   Western     Salt Lake City              99            9.09%           40.40%          46.46%           48.48%
10/27/2020   Western     Seattle                    518            6.56%           33.59%          33.59%           34.94%
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                                                     Measured       Processing      Processing       Processing      Processing
                                                     Volume:        Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                                     Outbound       Outbound        Outbound         Outbound        Outbound
Date         Area             District               Ballot         Ballot          Ballot           Ballot          Ballot
10/28/2020   Capital Metro    Atlanta                         734           4.63%            6.13%           7.63%            8.31%
10/28/2020   Capital Metro    Baltimore                     14876          54.72%           96.20%          96.24%           96.46%
10/28/2020   Capital Metro    Capital                         232          12.07%           59.05%          63.79%           63.79%

10/28/2020 Capital Metro      Greater S Carolina             171          16.96%           42.69%          47.37%           47.95%
10/28/2020 Capital Metro      Greensboro                     907          65.16%           88.64%          89.42%           89.64%
10/28/2020 Capital Metro      Mid-Carolinas                 1103          57.21%           98.73%          99.73%           99.73%

10/28/2020 Capital Metro      Norther Virginia                92          31.52%           31.52%          34.78%           34.78%
10/28/2020 Capital Metro      Richmond                        36          19.44%           30.56%          38.89%           38.89%
10/28/2020 Eastern            Appalachian                     35          34.29%           34.29%          37.14%           40.00%

10/28/2020   Eastern          Central Pennsylvania           394          49.49%           49.75%          51.02%           51.78%
10/28/2020   Eastern          Kentuckiana                     21          66.67%           76.19%          76.19%           76.19%
10/28/2020   Eastern          Norther Ohio                   365          72.60%           72.88%          74.52%           75.62%
10/28/2020   Eastern          Ohio Valley                    153          37.91%           37.91%          43.79%           46.41%

10/28/2020 Eastern            Philadelphia Metropo           213          46.01%           53.52%          58.22%           59.62%
10/28/2020 Eastern            South Jersey                 37583          98.25%           99.69%          99.70%           99.79%
10/28/2020 Eastern            Tennessee                       30          53.33%           63.33%          83.33%           83.33%

10/28/2020 Eastern            Western New York               122           7.38%            7.38%           8.20%            8.20%

10/28/2020 Eastern            Western Pennsylvania          7783          97.73%           97.73%          97.97%           98.25%
10/28/2020 Great Lakes        Central Illinois               100           5.00%            6.00%          29.00%           29.00%
10/28/2020 Great Lakes        Chicago                         35          91.43%           94.29%          97.14%           97.14%
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                                                   Measured      Processing      Processing       Processing      Processing
                                                   Volume:       Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                                   Outbound      Outbound        Outbound         Outbound        Outbound
Date         Area           District               Ballot        Ballot          Ballot           Ballot          Ballot
10/28/2020   Great Lakes    Detroit                           50        66.00%           72.00%          96.00%           98.00%
10/28/2020   Great Lakes    Gateway                           97        55.67%           68.04%          81.44%           81.44%
10/28/2020   Great Lakes    Greater Indiana                   77        75.32%           80.52%          81.82%           83.12%

10/28/2020   Great Lakes    Greater Michigan              722           3.05%            3.60%          18.56%           94.60%
10/28/2020   Great Lakes    Lakeland                       54          24.07%           25.93%          25.93%           25.93%
10/28/2020   Northeast      Albany                         13          61.54%           61.54%          76.92%           84.62%
10/28/2020   Northeast      Caribbean

10/28/2020   Northeast      Connecticut Valley                37       45.95%           45.95%          45.95%           45.95%
10/28/2020   Northeast      Greater Boston                    74       37.84%           37.84%          43.24%           43.24%
10/28/2020   Northeast      Long Island                        6      100.00%          100.00%         100.00%          100.00%
10/28/2020   Northeast      New York                          44       84.09%           84.09%         100.00%          100.00%

10/28/2020 Northeast        Northern New England              52        5.77%            7.69%           7.69%            7.69%

10/28/2020   Northeast      Northern New Jersey        663434          99.22%           99.22%          99.96%           99.99%
10/28/2020   Northeast      Triboro                        36          91.67%           91.67%          94.44%           94.44%
10/28/2020   Northeast      Westchester                    33          24.24%           24.24%          30.30%           33.33%
10/28/2020   Pacific        Bay-Valley                     44          81.82%           84.09%          86.36%           86.36%
10/28/2020   Pacific        Honolulu                       21          90.48%           95.24%         100.00%          100.00%
10/28/2020   Pacific        Los Angeles                   697          16.50%           17.07%          20.66%           99.28%
10/28/2020   Pacific        Sacramento                    115          84.35%           84.35%          93.91%           94.78%
10/28/2020   Pacific        San Diego                   11732          99.83%           99.85%          99.94%           99.95%
10/28/2020   Pacific        San Francisco                  15          66.67%           73.33%          93.33%           93.33%
10/28/2020   Pacific        Santa Ana                    3933          99.11%           99.16%          99.44%           99.57%
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                                            Measured       Processing      Processing       Processing      Processing
                                            Volume:        Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                            Outbound       Outbound        Outbound         Outbound        Outbound
Date         Area        District           Ballot         Ballot          Ballot           Ballot          Ballot
10/28/2020   Pacific     Sierra Coastal             1356          98.97%           99.04%          99.12%           99.41%
10/28/2020   Southern    Alabama                      70          25.71%           30.00%          30.00%           30.00%
10/28/2020   Southern    Arkansas                      8          37.50%           37.50%          50.00%           62.50%
10/28/2020   Southern    Dallas                       61           9.84%            9.84%          18.03%           18.03%
10/28/2020   Southern    Ft. Worth                    70          21.43%           21.43%          22.86%           24.29%
10/28/2020   Southern    Gulf Atlantic               440          19.77%           20.68%          21.36%           22.50%
10/28/2020   Southern    Houston                       9          33.33%           44.44%          88.89%           88.89%
10/28/2020   Southern    Louisiana                    10          80.00%           80.00%        100.00%           100.00%
10/28/2020   Southern    Mississippi                   7          71.43%           85.71%        100.00%           100.00%
10/28/2020   Southern    Oklahoma                      7          71.43%           71.43%        100.00%           100.00%
10/28/2020   Southern    Rio Grande                  147           7.48%            8.84%          11.56%           17.01%
10/28/2020   Southern    South Florida               152          26.97%           26.97%          27.63%           28.29%
10/28/2020   Southern    Suncoast                  14610          89.27%           89.53%          89.73%           89.91%
10/28/2020   Western     Alaska                        7          71.43%           71.43%          85.71%          100.00%
10/28/2020   Western     Arizona                   22169          88.46%           89.07%          95.80%           96.45%
10/28/2020   Western     Central Plains               21          33.33%           33.33%          52.38%           52.38%

10/28/2020   Western     Colorado/Wyoming          1551           0.90%            1.23%          82.01%           86.59%
10/28/2020   Western     Dakotas                     23           8.70%           13.04%          26.09%           30.43%
10/28/2020   Western     Hawkeye                     10          70.00%           70.00%          70.00%           70.00%
10/28/2020   Western     Mid-Americas                30          70.00%           70.00%          86.67%           86.67%
10/28/2020   Western     Nevada Sierra              107          20.56%           21.50%          27.10%           31.78%
10/28/2020   Western     Northland                  562           0.53%           93.77%          95.55%           95.73%
10/28/2020   Western     Portland                    64          28.13%           28.13%          43.75%           45.31%
10/28/2020   Western     Salt Lake City            3887          97.20%           97.22%          97.76%           97.89%
10/28/2020   Western     Seattle                    327           1.53%            2.75%          36.70%           37.61%
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                                                     Measured       Processing      Processing       Processing      Processing
                                                     Volume:        Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                                     Outbound       Outbound        Outbound         Outbound        Outbound
Date         Area             District               Ballot         Ballot          Ballot           Ballot          Ballot
10/29/2020   Capital Metro    Atlanta                        3518           2.08%            2.08%           2.27%            2.39%
10/29/2020   Capital Metro    Baltimore                      1997          46.17%           46.17%          97.65%           97.65%
10/29/2020   Capital Metro    Capital                         114          49.12%           49.12%          62.28%           64.91%

10/29/2020 Capital Metro      Greater S Carolina              61          68.85%           68.85%          86.89%           93.44%
10/29/2020 Capital Metro      Greensboro                    2096          94.56%           94.56%          98.14%           98.23%
10/29/2020 Capital Metro      Mid-Carolinas                  316          18.04%           18.04%          24.68%           25.00%

10/29/2020 Capital Metro      Norther Virginia               132          27.27%           27.27%          27.27%           29.55%
10/29/2020 Capital Metro      Richmond                        55          89.09%           89.09%          90.91%           92.73%
10/29/2020 Eastern            Appalachian                     30          83.33%           86.67%          86.67%           86.67%

10/29/2020   Eastern          Central Pennsylvania            64          65.63%           70.31%          71.88%           78.13%
10/29/2020   Eastern          Kentuckiana                     73          27.40%           28.77%          31.51%           31.51%
10/29/2020   Eastern          Norther Ohio                   623          87.32%           88.44%          88.92%           90.69%
10/29/2020   Eastern          Ohio Valley                   1840          95.49%           95.49%          95.60%           96.25%

10/29/2020 Eastern            Philadelphia Metropo          2420          99.05%           99.17%          99.42%           99.83%
10/29/2020 Eastern            South Jersey                298350          99.34%           99.34%          99.97%           99.97%
10/29/2020 Eastern            Tennessee                      198          31.31%           31.31%          32.83%           33.84%

10/29/2020 Eastern            Western New York                28          67.86%           71.43%          71.43%           71.43%

10/29/2020 Eastern            Western Pennsylvania          5822          98.99%           99.26%          99.28%           99.38%
10/29/2020 Great Lakes        Central Illinois              1340          98.96%           98.96%          98.96%           99.33%
10/29/2020 Great Lakes        Chicago                         72          83.33%           87.50%          88.89%           91.67%
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                                                   Measured      Processing      Processing       Processing      Processing
                                                   Volume:       Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                                   Outbound      Outbound        Outbound         Outbound        Outbound
Date         Area           District               Ballot        Ballot          Ballot           Ballot          Ballot
10/29/2020   Great Lakes    Detroit                        120          94.17%           94.17%          98.33%           98.33%
10/29/2020   Great Lakes    Gateway                        192          59.90%           70.31%          72.40%           89.58%
10/29/2020   Great Lakes    Greater Indiana                 85          68.24%           71.76%          81.18%           83.53%

10/29/2020   Great Lakes    Greater Michigan              1892         97.57%           97.57%          97.62%           97.99%
10/29/2020   Great Lakes    Lakeland                        67         89.55%           89.55%          92.54%           95.52%
10/29/2020   Northeast      Albany                          17         82.35%           82.35%          82.35%           82.35%
10/29/2020   Northeast      Caribbean                        2        100.00%          100.00%         100.00%          100.00%

10/29/2020   Northeast      Connecticut Valley              54         50.00%           50.00%          57.41%           61.11%
10/29/2020   Northeast      Greater Boston                 218         28.90%           28.90%          30.28%           30.73%
10/29/2020   Northeast      Long Island                     26         96.15%           96.15%         100.00%          100.00%
10/29/2020   Northeast      New York                        82         82.93%           84.15%          91.46%           91.46%

10/29/2020 Northeast        Northern New England            35         65.71%           65.71%          80.00%           80.00%

10/29/2020   Northeast      Northern New Jersey         104390         85.80%           98.81%          98.81%           99.94%
10/29/2020   Northeast      Triboro                         37         94.59%           94.59%          94.59%           97.30%
10/29/2020   Northeast      Westchester                     28         85.71%           85.71%          85.71%           85.71%
10/29/2020   Pacific        Bay-Valley                      52         67.31%           67.31%          75.00%           96.15%
10/29/2020   Pacific        Honolulu                        45         75.56%           91.11%          93.33%           97.78%
10/29/2020   Pacific        Los Angeles                    104         59.62%           61.54%          62.50%           64.42%
10/29/2020   Pacific        Sacramento                     459         96.08%           96.08%          96.08%           98.04%
10/29/2020   Pacific        San Diego                      908         98.57%           98.57%          98.79%           99.23%
10/29/2020   Pacific        San Francisco                   49         73.47%           73.47%          83.67%           91.84%
10/29/2020   Pacific        Santa Ana                     3637         98.98%           99.04%          99.29%           99.78%
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                                            Measured       Processing      Processing       Processing      Processing
                                            Volume:        Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                            Outbound       Outbound        Outbound         Outbound        Outbound
Date         Area        District           Ballot         Ballot          Ballot           Ballot          Ballot
10/29/2020   Pacific     Sierra Coastal              113          34.51%           34.51%          38.05%           45.13%
10/29/2020   Southern    Alabama                      54          66.67%           66.67%          66.67%           66.67%
10/29/2020   Southern    Arkansas                     42          88.10%           88.10%          95.24%           95.24%
10/29/2020   Southern    Dallas                       42          69.05%           76.19%          83.33%           83.33%
10/29/2020   Southern    Ft. Worth                  1088          99.36%           99.45%          99.45%           99.63%
10/29/2020   Southern    Gulf Atlantic               136          42.65%           42.65%          43.38%           46.32%
10/29/2020   Southern    Houston                      60          86.67%           86.67%          96.67%          100.00%
10/29/2020   Southern    Louisiana                    24          95.83%           95.83%          95.83%           95.83%
10/29/2020   Southern    Mississippi                   8          87.50%           87.50%          87.50%           87.50%
10/29/2020   Southern    Oklahoma                     19          84.21%           94.74%          94.74%          100.00%
10/29/2020   Southern    Rio Grande                   78          92.31%           92.31%          94.87%           96.15%
10/29/2020   Southern    South Florida                48          72.92%           79.17%          81.25%           85.42%
10/29/2020   Southern    Suncoast                   2065          26.68%           38.74%          39.61%           41.26%
10/29/2020   Western     Alaska                        8          62.50%           87.50%          87.50%          100.00%
10/29/2020   Western     Arizona                   19260          87.94%           90.47%          95.19%           96.49%
10/29/2020   Western     Central Plains               63          36.51%           36.51%          41.27%           46.03%

10/29/2020   Western     Colorado/Wyoming          1209          54.84%           55.00%          55.75%           63.69%
10/29/2020   Western     Dakotas                     43          53.49%           60.47%          79.07%           86.05%
10/29/2020   Western     Hawkeye                     20          70.00%           80.00%          80.00%           90.00%
10/29/2020   Western     Mid-Americas                27          77.78%           81.48%          81.48%           92.59%
10/29/2020   Western     Nevada Sierra              142          29.58%           30.99%          39.44%           51.41%
10/29/2020   Western     Northland                   72          50.00%           51.39%          81.94%           84.72%
10/29/2020   Western     Portland                   101          39.60%           39.60%          41.58%           46.53%
10/29/2020   Western     Salt Lake City            8857          98.34%           98.39%          98.58%           98.66%
10/29/2020   Western     Seattle                    297          23.23%           23.23%          23.23%           24.58%
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                                                     Measured      Processing      Processing       Processing      Processing
                                                     Volume:       Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                                     Outbound      Outbound        Outbound         Outbound        Outbound
Date         Area             District               Ballot        Ballot          Ballot           Ballot          Ballot
10/30/2020   Capital Metro    Atlanta                        820           3.41%            3.54%           3.54%            3.90%
10/30/2020   Capital Metro    Baltimore                      318           3.14%           14.15%          14.15%           85.53%
10/30/2020   Capital Metro    Capital                         27          29.63%           51.85%          51.85%           74.07%

10/30/2020 Capital Metro      Greater S Carolina              89         19.10%           25.84%          25.84%           32.58%
10/30/2020 Capital Metro      Greensboro                    2553          1.06%           96.55%          96.59%           97.10%
10/30/2020 Capital Metro      Mid-Carolinas                   62         27.42%           32.26%          32.26%           40.32%

10/30/2020 Capital Metro      Norther Virginia                15         86.67%           86.67%          86.67%           86.67%
10/30/2020 Capital Metro      Richmond                        34         88.24%           94.12%          94.12%           94.12%
10/30/2020 Eastern            Appalachian                     49         10.20%           12.24%          12.24%           12.24%

10/30/2020   Eastern          Central Pennsylvania          3830         23.34%           99.69%          99.69%           99.69%
10/30/2020   Eastern          Kentuckiana                     17         64.71%           70.59%          70.59%           70.59%
10/30/2020   Eastern          Norther Ohio                  4635         32.60%           98.53%          98.83%           98.86%
10/30/2020   Eastern          Ohio Valley                    146         28.08%           78.08%          78.08%           78.08%

10/30/2020 Eastern            Philadelphia Metropo          4671         98.78%           99.42%          99.44%           99.70%
10/30/2020 Eastern            South Jersey                   210         46.67%           69.52%          69.52%          100.00%
10/30/2020 Eastern            Tennessee                       61         85.25%           90.16%          90.16%           90.16%

10/30/2020 Eastern            Western New York                14        100.00%          100.00%         100.00%          100.00%

10/30/2020 Eastern            Western Pennsylvania           980         89.59%           92.04%          94.49%           94.49%
10/30/2020 Great Lakes        Central Illinois              1053         75.21%           98.96%          98.96%           99.15%
10/30/2020 Great Lakes        Chicago                         18         88.89%           94.44%          94.44%           94.44%
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                                                   Measured   Processing      Processing       Processing      Processing
                                                   Volume:    Score:          Score Plus 1:    Score Plus 2:   Score Plus 3:
                                                   Outbound   Outbound        Outbound         Outbound        Outbound
Date         Area           District               Ballot     Ballot          Ballot           Ballot          Ballot
10/30/2020   Great Lakes    Detroit                        54        75.93%           87.04%          87.04%           88.89%
10/30/2020   Great Lakes    Gateway                       545        95.41%           97.98%          98.35%           98.35%
10/30/2020   Great Lakes    Greater Indiana                57        33.33%           33.33%          33.33%           35.09%

10/30/2020   Great Lakes    Greater Michigan              456       97.15%           98.68%          98.68%           98.68%
10/30/2020   Great Lakes    Lakeland                       19       73.68%           78.95%          78.95%           78.95%
10/30/2020   Northeast      Albany                         23       86.96%           95.65%          95.65%           95.65%
10/30/2020   Northeast      Caribbean                       4       75.00%           75.00%          75.00%           75.00%

10/30/2020   Northeast      Connecticut Valley                24    87.50%          100.00%         100.00%          100.00%
10/30/2020   Northeast      Greater Boston                    43    88.37%           93.02%          93.02%           93.02%
10/30/2020   Northeast      Long Island                        9    66.67%           66.67%          66.67%           66.67%
10/30/2020   Northeast      New York                          42    95.24%           97.62%          97.62%           97.62%

10/30/2020 Northeast        Northern New England              20    55.00%           60.00%          60.00%           60.00%

10/30/2020   Northeast      Northern New Jersey        105936       94.37%           94.63%          95.93%           95.93%
10/30/2020   Northeast      Triboro                        39       76.92%           79.49%          79.49%           79.49%
10/30/2020   Northeast      Westchester                    13       76.92%           84.62%          84.62%           84.62%
10/30/2020   Pacific        Bay-Valley                     46       86.96%           86.96%          86.96%           86.96%
10/30/2020   Pacific        Honolulu                       16       93.75%           93.75%          93.75%          100.00%
10/30/2020   Pacific        Los Angeles                   109       88.99%           88.99%          88.99%           88.99%
10/30/2020   Pacific        Sacramento                     58       46.55%           46.55%          46.55%           46.55%
10/30/2020   Pacific        San Diego                    3069       98.99%           99.06%          99.06%           99.06%
10/30/2020   Pacific        San Francisco                  33       93.94%           93.94%          93.94%           96.97%
10/30/2020   Pacific        Santa Ana                    6958       99.44%           99.51%          99.51%           99.51%
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                                            Measured     Processing       Processing       Processing      Processing
                                            Volume:      Score:           Score Plus 1:    Score Plus 2:   Score Plus 3:
                                            Outbound     Outbound         Outbound         Outbound        Outbound
Date         Area        District           Ballot       Ballot           Ballot           Ballot          Ballot
10/30/2020   Pacific     Sierra Coastal             55           47.27%           47.27%          54.55%           56.36%
10/30/2020   Southern    Alabama                    39           25.64%           25.64%          25.64%           25.64%
10/30/2020   Southern    Arkansas                    7           71.43%           71.43%          71.43%           71.43%
10/30/2020   Southern    Dallas                     56           89.29%           91.07%          91.07%           91.07%
10/30/2020   Southern    Ft. Worth                  14           78.57%           85.71%          85.71%           92.86%
10/30/2020   Southern    Gulf Atlantic              55           36.36%           43.64%          43.64%           43.64%
10/30/2020   Southern    Houston                    68           22.06%           23.53%          23.53%           23.53%
10/30/2020   Southern    Louisiana                  14           57.14%           71.43%          71.43%          100.00%
10/30/2020   Southern    Mississippi                 3          100.00%          100.00%        100.00%           100.00%
10/30/2020   Southern    Oklahoma                   28           89.29%           92.86%          92.86%           96.43%
10/30/2020   Southern    Rio Grande                 43           86.05%           90.70%          90.70%           90.70%
10/30/2020   Southern    South Florida              14           57.14%           78.57%          78.57%           78.57%
10/30/2020   Southern    Suncoast                 6684           90.53%           90.81%          91.02%           91.20%
10/30/2020   Western     Alaska                     10           20.00%           30.00%          60.00%           80.00%
10/30/2020   Western     Arizona                  9661           88.48%           92.76%          92.98%           93.54%
10/30/2020   Western     Central Plains             40           67.50%           67.50%          67.50%           67.50%

10/30/2020   Western     Colorado/Wyoming         3260         91.29%            94.88%          94.91%           95.21%
10/30/2020   Western     Dakotas                    27         85.19%            85.19%          85.19%           92.59%
10/30/2020   Western     Hawkeye                    23        100.00%           100.00%         100.00%          100.00%
10/30/2020   Western     Mid-Americas               62         91.94%            93.55%          93.55%           95.16%
10/30/2020   Western     Nevada Sierra             114         40.35%            44.74%          44.74%           46.49%
10/30/2020   Western     Northland                  38         42.11%            50.00%          50.00%           71.05%
10/30/2020   Western     Portland                   53         77.36%            79.25%          79.25%           79.25%
10/30/2020   Western     Salt Lake City            610         85.41%            87.05%          87.38%           87.38%
10/30/2020   Western     Seattle                   209         35.89%            37.32%          38.76%           40.19%
                             Case 1:20-cv-02405-EGS Document 51-4 Filed 10/31/20 Page 37 of 54




                                                     Measured        Processing      Processing Score   Processing      Processing
                                                     Volume:         Score:          Plus 1:            Score Plus 2:   Score Plus 3:
                                                     Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                                     Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area             District               Mail            Mail            Mail               Election Mail   Mail
10/24/2020   Capital Metro    Atlanta                            254         25.59%            49.21%          50.79%           59.06%
10/24/2020   Capital Metro    Baltimore                         1069         71.19%            71.84%          72.12%           82.32%
10/24/2020   Capital Metro    Capital                           1188         90.99%            93.43%          93.94%           94.11%

10/24/2020 Capital Metro      Greater S Carolina                312         12.82%           21.79%           21.79%           70.51%
10/24/2020 Capital Metro      Greensboro                       5010         89.50%           95.25%           95.81%           96.13%
10/24/2020 Capital Metro      Mid-Carolinas                    5072         62.22%           94.16%           95.60%           98.48%

10/24/2020 Capital Metro      Norther Virginia                  585         95.04%           95.38%           96.24%           96.24%
10/24/2020 Capital Metro      Richmond                          144         92.36%           93.75%           94.44%           95.83%
10/24/2020 Eastern            Appalachian                       107         68.22%           69.16%           69.16%           97.20%

10/24/2020   Eastern          Central Pennsylvania           34987           0.77%           76.56%           99.83%           99.89%
10/24/2020   Eastern          Kentuckiana                    97447          99.89%           99.89%           99.90%           99.94%
10/24/2020   Eastern          Norther Ohio                   79709          71.23%           75.09%           97.47%           97.62%
10/24/2020   Eastern          Ohio Valley                   169762          89.42%           92.39%           99.78%           99.86%

10/24/2020 Eastern            Philadelphia Metropo            5702           4.75%            7.47%           92.70%           95.44%
10/24/2020 Eastern            South Jersey                   49818          47.22%           99.84%           99.84%           99.95%
10/24/2020 Eastern            Tennessee                        522          12.64%           14.94%           16.67%           22.80%

10/24/2020 Eastern            Western New York                   63         23.81%           23.81%           23.81%           74.60%

10/24/2020 Eastern            Western Pennsylvania             247          36.03%           39.27%           52.63%           97.17%
10/24/2020 Great Lakes        Central Illinois               49911          99.08%           99.08%           99.87%           99.97%
10/24/2020 Great Lakes        Chicago                          565          10.27%           10.44%           51.50%           54.16%
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                                                   Measured        Processing      Processing Score    Processing      Processing
                                                   Volume:         Score:          Plus 1:             Score Plus 2:   Score Plus 3:
                                                   Outbound Non- Outbound Non- Outbound Non-           Outbound        Outbound Non-
                                                   Ballot Election Ballot Election Ballot Election     Non-Ballot      Ballot Election
Date         Area           District               Mail            Mail            Mail                Election Mail   Mail
10/24/2020   Great Lakes    Detroit                          25257           0.09%             5.29%          99.24%           99.24%
10/24/2020   Great Lakes    Gateway                        292470          99.99%            99.99%           99.99%           99.99%
10/24/2020   Great Lakes    Greater Indiana                106473          96.33%            97.35%           98.41%           98.41%

10/24/2020   Great Lakes    Greater Michigan               10271          97.30%            97.32%           97.45%           98.03%
10/24/2020   Great Lakes    Lakeland                      108175          99.08%            99.09%           99.54%           99.61%
10/24/2020   Northeast      Albany                           308          78.90%            79.22%           79.55%           95.13%
10/24/2020   Northeast      Caribbean                          5          80.00%            80.00%          100.00%          100.00%

10/24/2020   Northeast      Connecticut Valley                697         79.20%            81.21%           81.21%           81.21%
10/24/2020   Northeast      Greater Boston                   3837         99.45%            99.79%           99.92%           99.92%
10/24/2020   Northeast      Long Island                       146         92.47%            93.84%           95.21%           95.21%
10/24/2020   Northeast      New York                           89         37.08%            61.80%           78.65%           78.65%

10/24/2020 Northeast        Northern New England             2806         98.93%            99.39%           99.39%           99.82%

10/24/2020   Northeast      Northern New Jersey            14512          99.85%            99.92%           99.94%           99.97%
10/24/2020   Northeast      Triboro                          668          11.38%            11.68%           11.68%           31.74%
10/24/2020   Northeast      Westchester                      267          94.01%            94.38%           94.38%           95.13%
10/24/2020   Pacific        Bay-Valley                       147          91.16%            91.84%           91.84%           91.84%
10/24/2020   Pacific        Honolulu                          98          62.24%            63.27%           95.92%           95.92%
10/24/2020   Pacific        Los Angeles                  1218601          99.89%            99.92%          100.00%          100.00%
10/24/2020   Pacific        Sacramento                     43281          97.66%            97.68%           98.02%           98.10%
10/24/2020   Pacific        San Diego                       9801          98.31%            98.39%           99.04%           99.38%
10/24/2020   Pacific        San Francisco                   4624          98.23%            98.51%           98.75%           98.81%
10/24/2020   Pacific        Santa Ana                     248987          99.97%            99.97%           99.97%           99.97%
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                                            Measured         Processing     Processing Score   Processing      Processing
                                            Volume:          Score:         Plus 1:            Score Plus 2:   Score Plus 3:
                                            Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                            Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area        District           Mail             Mail           Mail               Election Mail   Mail
10/24/2020   Pacific     Sierra Coastal             690573          99.99%            99.99%          99.99%           99.99%
10/24/2020   Southern    Alabama                          60        53.33%            80.00%          85.00%           85.00%
10/24/2020   Southern    Arkansas                         26        69.23%            84.62%          84.62%           92.31%
10/24/2020   Southern    Dallas                         582         36.08%            84.36%          96.39%           98.97%
10/24/2020   Southern    Ft. Worth                      189         31.22%            50.79%          93.12%           99.47%
10/24/2020   Southern    Gulf Atlantic                60589         99.10%            99.13%          99.26%           99.32%
10/24/2020   Southern    Houston                        357           5.60%           98.04%          98.04%           98.60%
10/24/2020   Southern    Louisiana                      386           8.03%           70.98%          77.20%           86.27%
10/24/2020   Southern    Mississippi                    265           9.81%           96.98%          97.36%           97.36%
10/24/2020   Southern    Oklahoma                     91015         99.94%            99.94%          99.97%          100.00%
10/24/2020   Southern    Rio Grande                   22255         99.56%            99.72%          99.83%           99.92%
10/24/2020   Southern    South Florida                 8355         52.02%            97.98%          99.29%           99.37%
10/24/2020   Southern    Suncoast                     21680         85.75%            86.66%          89.69%           97.27%
10/24/2020   Western     Alaska                           59        64.41%            66.10%          66.10%           66.10%
10/24/2020   Western     Arizona                    170583          99.86%            99.93%          99.94%           99.97%
10/24/2020   Western     Central Plains               56176         99.99%            99.99%          99.99%           99.99%

10/24/2020   Western     Colorado/Wyoming            1128          91.93%           92.64%           94.77%           97.34%
10/24/2020   Western     Dakotas                    17051          99.75%           99.87%           99.92%           99.99%
10/24/2020   Western     Hawkeye                    14619          99.46%           99.54%           99.86%           99.86%
10/24/2020   Western     Mid-Americas              123383          99.99%           99.99%           99.99%           99.99%
10/24/2020   Western     Nevada Sierra              50228          99.78%           99.80%           99.97%           99.99%
10/24/2020   Western     Northland                 122965          96.62%           99.02%           99.82%           99.86%
10/24/2020   Western     Portland                    3584          61.66%           62.25%           62.28%           62.64%
10/24/2020   Western     Salt Lake City              1117          94.81%           95.17%           95.52%           98.57%
10/24/2020   Western     Seattle                      385          32.99%           38.96%           41.82%           43.64%
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                                                     Measured        Processing      Processing Score   Processing      Processing
                                                     Volume:         Score:          Plus 1:            Score Plus 2:   Score Plus 3:
                                                     Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                                     Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area             District               Mail            Mail            Mail               Election Mail   Mail
10/26/2020   Capital Metro    Atlanta                           4731         42.27%            98.48%          98.71%           98.90%
10/26/2020   Capital Metro    Baltimore                         2015         38.31%            50.27%          95.19%           95.19%
10/26/2020   Capital Metro    Capital                            351         89.46%            95.44%          98.29%           98.29%

10/26/2020 Capital Metro      Greater S Carolina               1410         83.83%           84.61%           86.81%           87.02%
10/26/2020 Capital Metro      Greensboro                       8255         75.11%           96.58%           97.95%           98.32%
10/26/2020 Capital Metro      Mid-Carolinas                    9885         34.88%           97.99%           99.12%           99.50%

10/26/2020 Capital Metro      Norther Virginia                  513         77.39%           81.29%           82.85%           82.85%
10/26/2020 Capital Metro      Richmond                         1011         96.83%           99.01%           99.11%           99.21%
10/26/2020 Eastern            Appalachian                      1095         96.71%           98.36%           98.36%           98.54%

10/26/2020   Eastern          Central Pennsylvania           20183           1.60%            5.43%           92.25%           99.23%
10/26/2020   Eastern          Kentuckiana                    27188          99.76%           99.81%           99.82%           99.82%
10/26/2020   Eastern          Norther Ohio                   16066          40.22%           69.81%           71.33%           95.06%
10/26/2020   Eastern          Ohio Valley                   117029          53.02%           88.46%           88.62%           99.82%

10/26/2020 Eastern            Philadelphia Metropo          405836           0.07%           99.09%           99.16%           99.98%
10/26/2020 Eastern            South Jersey                  436316           3.26%           95.91%          100.00%          100.00%
10/26/2020 Eastern            Tennessee                      14921          96.79%           97.00%           97.05%           97.51%

10/26/2020 Eastern            Western New York                  578         84.26%           85.99%           85.99%           86.33%

10/26/2020 Eastern            Western Pennsylvania            1720          83.49%           84.01%           98.84%           99.30%
10/26/2020 Great Lakes        Central Illinois               55484          99.80%           99.86%           99.87%           99.96%
10/26/2020 Great Lakes        Chicago                         1691          79.12%           79.36%           79.60%           82.02%
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                                                   Measured        Processing      Processing Score   Processing      Processing
                                                   Volume:         Score:          Plus 1:            Score Plus 2:   Score Plus 3:
                                                   Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                                   Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area           District               Mail            Mail            Mail               Election Mail   Mail
10/26/2020   Great Lakes    Detroit                           4163         25.01%            25.44%          26.21%           97.00%
10/26/2020   Great Lakes    Gateway                        164505          99.90%            99.92%          99.92%           99.97%
10/26/2020   Great Lakes    Greater Indiana                  75411         94.75%            94.94%          99.04%           99.29%

10/26/2020   Great Lakes    Greater Michigan              135404          99.88%           99.89%           99.91%           99.97%
10/26/2020   Great Lakes    Lakeland                       31136          90.95%           99.68%           99.71%           99.90%
10/26/2020   Northeast      Albany                           236          64.83%           77.97%           77.97%           78.81%
10/26/2020   Northeast      Caribbean                        301          98.67%           98.67%           98.67%           98.67%

10/26/2020   Northeast      Connecticut Valley               1035         76.71%           83.19%           83.29%           83.29%
10/26/2020   Northeast      Greater Boston                   1498         78.30%           80.91%           81.11%           84.05%
10/26/2020   Northeast      Long Island                       385         77.66%           83.12%           84.16%           84.16%
10/26/2020   Northeast      New York                         1222         27.17%           98.12%           98.61%           98.61%

10/26/2020 Northeast        Northern New England             1806         94.41%           95.96%           96.01%           96.07%

10/26/2020   Northeast      Northern New Jersey             1695          11.15%           15.40%           99.12%           99.17%
10/26/2020   Northeast      Triboro                         2667          14.29%           40.16%           40.31%           40.64%
10/26/2020   Northeast      Westchester                      252          80.16%           85.71%           86.11%           97.22%
10/26/2020   Pacific        Bay-Valley                      3461          98.01%           98.61%           98.67%           98.79%
10/26/2020   Pacific        Honolulu                        1174          99.49%           99.83%           99.91%           99.91%
10/26/2020   Pacific        Los Angeles                    26933          92.34%           92.44%           95.66%           99.62%
10/26/2020   Pacific        Sacramento                     11775          82.05%           82.69%           82.82%           87.14%
10/26/2020   Pacific        San Diego                      21640          99.34%           99.46%           99.59%           99.83%
10/26/2020   Pacific        San Francisco                  33210          99.54%           99.59%           99.61%           99.77%
10/26/2020   Pacific        Santa Ana                      23541          99.33%           99.38%           99.48%           99.92%
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                                            Measured         Processing     Processing Score   Processing      Processing
                                            Volume:          Score:         Plus 1:            Score Plus 2:   Score Plus 3:
                                            Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                            Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area        District           Mail             Mail           Mail               Election Mail   Mail
10/26/2020   Pacific     Sierra Coastal               25791         94.81%            94.98%          95.01%           95.02%
10/26/2020   Southern    Alabama                        853         85.35%            86.52%          86.87%           86.87%
10/26/2020   Southern    Arkansas                       756         98.28%            99.21%          99.21%           99.34%
10/26/2020   Southern    Dallas                        1681         85.96%            86.91%          87.57%           94.11%
10/26/2020   Southern    Ft. Worth                     2419         47.62%            48.33%          97.85%           97.89%
10/26/2020   Southern    Gulf Atlantic                10727         27.52%            81.98%          83.92%           84.94%
10/26/2020   Southern    Houston                       2438         97.46%            98.11%          99.88%           99.88%
10/26/2020   Southern    Louisiana                     1210         98.35%            99.17%          99.17%           99.34%
10/26/2020   Southern    Mississippi                    582         82.13%            84.02%          90.03%           90.55%
10/26/2020   Southern    Oklahoma                      5822         99.74%            99.93%          99.93%           99.93%
10/26/2020   Southern    Rio Grande                    2957         92.83%            93.98%          94.76%           99.43%
10/26/2020   Southern    South Florida                20898         87.16%            92.38%          99.40%           99.67%
10/26/2020   Southern    Suncoast                     59926         92.88%            93.96%          94.29%           96.61%
10/26/2020   Western     Alaska                           60        88.33%            88.33%          93.33%           93.33%
10/26/2020   Western     Arizona                      22646         92.17%            92.41%          92.77%           93.44%
10/26/2020   Western     Central Plains               38807         99.70%            99.73%          99.73%           99.86%

10/26/2020   Western     Colorado/Wyoming            2202          68.44%           96.82%           97.32%           97.68%
10/26/2020   Western     Dakotas                      927          93.53%           96.87%           96.87%           96.98%
10/26/2020   Western     Hawkeye                    32083          99.83%           99.89%           99.90%           99.99%
10/26/2020   Western     Mid-Americas              155436          99.88%           99.89%           99.89%           99.93%
10/26/2020   Western     Nevada Sierra               4989          98.62%           98.72%           99.42%           99.44%
10/26/2020   Western     Northland                 202634          97.58%           99.46%           99.85%           99.98%
10/26/2020   Western     Portland                    8001          61.99%           73.54%           73.79%           74.80%
10/26/2020   Western     Salt Lake City              3090          94.53%           95.40%           95.47%           96.83%
10/26/2020   Western     Seattle                     3809          97.19%           97.98%           97.98%           98.82%
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                                                     Measured        Processing      Processing Score    Processing      Processing
                                                     Volume:         Score:          Plus 1:             Score Plus 2:   Score Plus 3:
                                                     Outbound Non- Outbound Non- Outbound Non-           Outbound        Outbound Non-
                                                     Ballot Election Ballot Election Ballot Election     Non-Ballot      Ballot Election
Date         Area             District               Mail            Mail            Mail                Election Mail   Mail
10/27/2020   Capital Metro    Atlanta                            520         11.92%            83.65%           92.69%           93.27%
10/27/2020   Capital Metro    Baltimore                         2718           3.02%             7.47%          14.57%           98.34%
10/27/2020   Capital Metro    Capital                            383         11.49%            95.30%           95.82%           95.82%

10/27/2020 Capital Metro      Greater S Carolina                247         14.57%            80.57%           83.40%           83.40%
10/27/2020 Capital Metro      Greensboro                       1599         44.40%            59.22%           89.31%           91.37%
10/27/2020 Capital Metro      Mid-Carolinas                    3756         77.24%            87.65%           92.07%           99.68%

10/27/2020 Capital Metro      Norther Virginia                  971         83.21%            98.87%           98.87%           98.87%
10/27/2020 Capital Metro      Richmond                          412         88.83%            99.76%           99.76%           99.76%
10/27/2020 Eastern            Appalachian                        74         45.95%            95.95%           98.65%           98.65%

10/27/2020   Eastern          Central Pennsylvania             1105          4.25%            76.74%           83.35%           88.96%
10/27/2020   Eastern          Kentuckiana                      6599         86.79%            99.98%           99.98%          100.00%
10/27/2020   Eastern          Norther Ohio                    60365          0.35%            95.10%           96.50%           96.92%
10/27/2020   Eastern          Ohio Valley                      2142         26.47%            29.65%           74.46%           91.74%

10/27/2020 Eastern            Philadelphia Metropo          136009           0.04%             1.86%           99.46%           99.47%
10/27/2020 Eastern            South Jersey                  134585           0.12%             1.13%           99.93%           99.95%
10/27/2020 Eastern            Tennessee                       2642          72.56%            98.94%           98.94%           98.94%

10/27/2020 Eastern            Western New York                   35         80.00%           100.00%          100.00%          100.00%

10/27/2020 Eastern            Western Pennsylvania              250         95.20%            99.20%           99.60%           99.60%
10/27/2020 Great Lakes        Central Illinois                12389         98.26%            99.68%           99.68%           99.68%
10/27/2020 Great Lakes        Chicago                           126         18.25%            42.06%           42.86%           42.86%
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                                                   Measured        Processing      Processing Score   Processing      Processing
                                                   Volume:         Score:          Plus 1:            Score Plus 2:   Score Plus 3:
                                                   Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                                   Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area           District               Mail            Mail            Mail               Election Mail   Mail
10/27/2020   Great Lakes    Detroit                            892           1.46%           62.56%          63.00%           63.68%
10/27/2020   Great Lakes    Gateway                           1405         23.06%            96.37%          96.65%           98.93%
10/27/2020   Great Lakes    Greater Indiana                   9251         17.15%            92.78%          92.78%           98.66%

10/27/2020   Great Lakes    Greater Michigan               17174           0.16%           99.89%           99.89%           99.90%
10/27/2020   Great Lakes    Lakeland                        1392           5.68%           86.14%           96.91%           96.91%
10/27/2020   Northeast      Albany                            38          47.37%          100.00%          100.00%          100.00%
10/27/2020   Northeast      Caribbean                         30          96.67%          100.00%          100.00%          100.00%

10/27/2020   Northeast      Connecticut Valley                233          9.87%           52.79%           57.08%           58.37%
10/27/2020   Northeast      Greater Boston                   1739         92.35%           99.14%           99.14%           99.83%
10/27/2020   Northeast      Long Island                       175          6.29%           98.29%           98.29%           98.29%
10/27/2020   Northeast      New York                         2001         98.20%           99.60%           99.75%           99.75%

10/27/2020 Northeast        Northern New England              829          4.58%           63.81%           63.93%           99.88%

10/27/2020   Northeast      Northern New Jersey             1620           0.62%           98.89%           98.95%           99.88%
10/27/2020   Northeast      Triboro                         1464          86.61%           87.50%           87.91%           87.98%
10/27/2020   Northeast      Westchester                      115          81.74%           98.26%          100.00%          100.00%
10/27/2020   Pacific        Bay-Valley                      1028          94.16%           94.75%           94.84%           99.90%
10/27/2020   Pacific        Honolulu                         115          97.39%           98.26%           98.26%           98.26%
10/27/2020   Pacific        Los Angeles                    15838          73.36%           98.11%           98.13%           98.27%
10/27/2020   Pacific        Sacramento                      6452          34.72%           73.17%           73.17%           74.01%
10/27/2020   Pacific        San Diego                      43297          98.14%           99.53%           99.54%           99.83%
10/27/2020   Pacific        San Francisco                   3473          96.37%           98.01%           98.13%           99.22%
10/27/2020   Pacific        Santa Ana                      19629          96.61%           99.79%           99.82%           99.88%
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                                            Measured         Processing     Processing Score   Processing      Processing
                                            Volume:          Score:         Plus 1:            Score Plus 2:   Score Plus 3:
                                            Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                            Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area        District           Mail             Mail           Mail               Election Mail   Mail
10/27/2020   Pacific     Sierra Coastal                4983         93.38%            98.70%          98.74%           99.40%
10/27/2020   Southern    Alabama                        422           4.98%           96.21%          96.45%           96.45%
10/27/2020   Southern    Arkansas                       133           1.50%           48.87%          48.87%           48.87%
10/27/2020   Southern    Dallas                        1047           1.24%           98.09%          98.28%           98.28%
10/27/2020   Southern    Ft. Worth                      440           3.41%           98.18%          98.18%           99.09%
10/27/2020   Southern    Gulf Atlantic                16219         87.32%            90.75%          99.22%           99.30%
10/27/2020   Southern    Houston                          79        12.66%            82.28%          84.81%           92.41%
10/27/2020   Southern    Louisiana                      123         14.63%            52.85%          53.66%           53.66%
10/27/2020   Southern    Mississippi                    114           5.26%           73.68%          74.56%           74.56%
10/27/2020   Southern    Oklahoma                         66          6.06%           92.42%          93.94%           93.94%
10/27/2020   Southern    Rio Grande                     647           6.03%           93.04%          93.20%           93.66%
10/27/2020   Southern    South Florida                17563         95.14%            96.99%          97.58%           99.75%
10/27/2020   Southern    Suncoast                      2803           9.31%           54.41%          55.48%           70.53%
10/27/2020   Western     Alaska                           89        49.44%            79.78%          88.76%           97.75%
10/27/2020   Western     Arizona                       1128         47.96%            88.83%          89.80%           90.43%
10/27/2020   Western     Central Plains               12084         96.92%            99.93%          99.93%           99.93%

10/27/2020   Western     Colorado/Wyoming            1566           3.77%           69.54%           95.47%           96.30%
10/27/2020   Western     Dakotas                     1531           3.59%           98.04%           98.24%           98.24%
10/27/2020   Western     Hawkeye                    30246           0.09%          100.00%          100.00%          100.00%
10/27/2020   Western     Mid-Americas               32251           0.08%           99.94%           99.94%           99.94%
10/27/2020   Western     Nevada Sierra                392          33.67%           60.20%           60.46%           67.35%
10/27/2020   Western     Northland                 115515          82.67%           99.77%           99.90%           99.93%
10/27/2020   Western     Portland                    3612          44.63%           78.16%           78.29%           78.85%
10/27/2020   Western     Salt Lake City               159          47.80%           56.60%           57.23%           69.18%
10/27/2020   Western     Seattle                      435          28.97%           93.56%           94.25%           94.71%
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                                                     Measured        Processing      Processing Score   Processing      Processing
                                                     Volume:         Score:          Plus 1:            Score Plus 2:   Score Plus 3:
                                                     Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                                     Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area             District               Mail            Mail            Mail               Election Mail   Mail
10/28/2020   Capital Metro    Atlanta                           1450         27.03%            46.55%          55.31%           93.10%
10/28/2020   Capital Metro    Baltimore                          973           8.12%           56.94%          57.55%           61.05%
10/28/2020   Capital Metro    Capital                            676         45.56%            75.74%          77.37%           77.51%

10/28/2020 Capital Metro      Greater S Carolina               407          15.72%           43.73%           93.12%           93.37%
10/28/2020 Capital Metro      Greensboro                     33530          97.47%           97.68%           98.99%           99.45%
10/28/2020 Capital Metro      Mid-Carolinas                   4194          14.57%           85.67%           92.06%           95.02%

10/28/2020 Capital Metro      Norther Virginia                  117         57.26%           71.79%           73.50%           73.50%
10/28/2020 Capital Metro      Richmond                          461         29.50%           95.44%           96.96%           97.40%
10/28/2020 Eastern            Appalachian                        83         46.99%           51.81%           80.72%           80.72%

10/28/2020   Eastern          Central Pennsylvania            5176          82.03%           82.09%           89.57%           91.71%
10/28/2020   Eastern          Kentuckiana                     9342          27.71%           97.79%           99.90%           99.90%
10/28/2020   Eastern          Norther Ohio                   63190           1.55%            1.71%           97.69%           97.74%
10/28/2020   Eastern          Ohio Valley                     3358          86.48%           89.34%           90.02%           93.84%

10/28/2020 Eastern            Philadelphia Metropo             6347          1.64%            1.78%            5.14%           96.31%
10/28/2020 Eastern            South Jersey                     7440          0.35%            0.54%           22.07%           99.57%
10/28/2020 Eastern            Tennessee                        7299          7.43%           96.82%           99.84%           99.92%

10/28/2020 Eastern            Western New York                  313         15.97%           93.93%           96.81%           96.81%

10/28/2020 Eastern            Western Pennsylvania               55         50.91%           81.82%           89.09%           90.91%
10/28/2020 Great Lakes        Central Illinois                 2509         72.02%           85.17%           99.56%           99.60%
10/28/2020 Great Lakes        Chicago                          2048         42.53%           89.60%           91.70%           91.70%
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                                                   Measured        Processing      Processing Score   Processing      Processing
                                                   Volume:         Score:          Plus 1:            Score Plus 2:   Score Plus 3:
                                                   Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                                   Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area           District               Mail            Mail            Mail               Election Mail   Mail
10/28/2020   Great Lakes    Detroit                        253743          99.89%            99.89%          99.92%           99.92%
10/28/2020   Great Lakes    Gateway                           2876         39.67%            44.16%          99.17%           99.17%
10/28/2020   Great Lakes    Greater Indiana                  57283         91.97%            92.72%          99.26%           99.27%

10/28/2020   Great Lakes    Greater Michigan                 1772         44.70%           44.81%           97.69%           98.65%
10/28/2020   Great Lakes    Lakeland                         2673         69.51%           86.61%           97.16%           99.55%
10/28/2020   Northeast      Albany                            197          6.09%           96.45%           97.46%           97.46%
10/28/2020   Northeast      Caribbean                           3          0.00%            0.00%           33.33%           33.33%

10/28/2020   Northeast      Connecticut Valley                839         72.94%           91.30%           91.30%           91.54%
10/28/2020   Northeast      Greater Boston                    144         58.33%           84.03%           86.81%           88.89%
10/28/2020   Northeast      Long Island                        12         41.67%           41.67%           58.33%           58.33%
10/28/2020   Northeast      New York                           77         49.35%           51.95%           64.94%           66.23%

10/28/2020 Northeast        Northern New England              218         11.01%           11.01%           94.04%           95.87%

10/28/2020   Northeast      Northern New Jersey             1699           0.82%           22.72%           98.29%           98.71%
10/28/2020   Northeast      Triboro                          400           8.00%           53.25%           56.75%           57.25%
10/28/2020   Northeast      Westchester                      458          18.34%           74.24%           98.47%           98.69%
10/28/2020   Pacific        Bay-Valley                       181          94.48%           97.24%           97.24%           97.24%
10/28/2020   Pacific        Honolulu                         123          96.75%           98.37%           99.19%           99.19%
10/28/2020   Pacific        Los Angeles                    49311          81.49%           93.57%           98.14%           98.14%
10/28/2020   Pacific        Sacramento                       776          49.48%           50.77%           87.24%           87.89%
10/28/2020   Pacific        San Diego                       4511          97.69%           98.05%           99.93%           99.93%
10/28/2020   Pacific        San Francisco                   8358          98.53%           99.14%           99.55%           99.61%
10/28/2020   Pacific        Santa Ana                       5865          92.58%           97.58%           99.90%           99.95%
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                                            Measured         Processing     Processing Score   Processing      Processing
                                            Volume:          Score:         Plus 1:            Score Plus 2:   Score Plus 3:
                                            Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                            Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area        District           Mail             Mail           Mail               Election Mail   Mail
10/28/2020   Pacific     Sierra Coastal               32347         98.91%            99.68%          99.86%           99.88%
10/28/2020   Southern    Alabama                        132         23.48%            25.00%          81.82%           81.82%
10/28/2020   Southern    Arkansas                         19        84.21%            84.21%          94.74%           94.74%
10/28/2020   Southern    Dallas                           51        47.06%            62.75%          68.63%           86.27%
10/28/2020   Southern    Ft. Worth                      111         27.03%            28.83%          71.17%           75.68%
10/28/2020   Southern    Gulf Atlantic                18353         97.06%            98.39%          98.74%           99.31%
10/28/2020   Southern    Houston                          62        53.23%            72.58%          80.65%           82.26%
10/28/2020   Southern    Louisiana                      103         73.79%            85.44%          89.32%           91.26%
10/28/2020   Southern    Mississippi                      73        23.29%            26.03%          87.67%           87.67%
10/28/2020   Southern    Oklahoma                         72        56.94%            59.72%          95.83%           95.83%
10/28/2020   Southern    Rio Grande                     264         30.68%            39.77%          88.64%           89.77%
10/28/2020   Southern    South Florida                24669         97.41%            97.55%          99.58%           99.62%
10/28/2020   Southern    Suncoast                     24164         90.00%            93.48%          96.86%           97.32%
10/28/2020   Western     Alaska                       13327         99.90%            99.97%         100.00%          100.00%
10/28/2020   Western     Arizona                       1594           6.21%           69.95%          85.70%           93.10%
10/28/2020   Western     Central Plains                5259         51.30%            98.73%          99.49%           99.54%

10/28/2020   Western     Colorado/Wyoming            2782          53.20%           53.74%           98.92%           99.25%
10/28/2020   Western     Dakotas                      841          75.39%           81.45%           98.10%           98.10%
10/28/2020   Western     Hawkeye                    21212           0.36%            0.40%           99.98%           99.99%
10/28/2020   Western     Mid-Americas                3746           3.95%            4.00%           98.64%           98.64%
10/28/2020   Western     Nevada Sierra                567          67.55%           68.96%           97.00%           97.35%
10/28/2020   Western     Northland                  32628          62.61%           97.75%           99.48%           99.86%
10/28/2020   Western     Portland                    4306          70.51%           70.51%           73.08%           73.41%
10/28/2020   Western     Salt Lake City                98          81.63%           82.65%           95.92%           96.94%
10/28/2020   Western     Seattle                      289          67.13%           67.82%           71.97%           71.97%
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                                                     Measured        Processing      Processing Score   Processing      Processing
                                                     Volume:         Score:          Plus 1:            Score Plus 2:   Score Plus 3:
                                                     Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                                     Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area             District               Mail            Mail            Mail               Election Mail   Mail
10/29/2020   Capital Metro    Atlanta                           1680         14.76%            16.55%          49.29%           54.70%
10/29/2020   Capital Metro    Baltimore                          727         10.04%            10.04%          12.93%           14.03%
10/29/2020   Capital Metro    Capital                            223         86.55%            88.34%          91.48%           92.38%

10/29/2020 Capital Metro      Greater S Carolina               463          24.19%           24.84%           67.60%           97.19%
10/29/2020 Capital Metro      Greensboro                     17253          78.99%           96.88%           98.71%           99.57%
10/29/2020 Capital Metro      Mid-Carolinas                   8243          83.14%           83.21%           98.03%           99.31%

10/29/2020 Capital Metro      Norther Virginia                  145         80.00%           80.00%           86.90%           88.28%
10/29/2020 Capital Metro      Richmond                          875         23.09%           23.09%           25.37%           98.29%
10/29/2020 Eastern            Appalachian                      1241         66.64%           66.64%           71.96%           99.03%

10/29/2020   Eastern          Central Pennsylvania             474          31.01%           40.72%           41.14%           46.41%
10/29/2020   Eastern          Kentuckiana                     1505          75.95%           79.40%           89.17%           99.87%
10/29/2020   Eastern          Norther Ohio                   21829           0.85%            2.39%            3.57%           90.71%
10/29/2020   Eastern          Ohio Valley                     2302          86.45%           86.71%           90.66%           91.88%

10/29/2020 Eastern            Philadelphia Metropo           34268           0.25%            0.25%            0.26%            3.71%
10/29/2020 Eastern            South Jersey                   33734           0.18%            0.18%            0.20%            1.36%
10/29/2020 Eastern            Tennessee                        858          68.07%           68.30%           84.97%           99.88%

10/29/2020 Eastern            Western New York                  695         98.99%           98.99%           99.57%          100.00%

10/29/2020 Eastern            Western Pennsylvania              401         96.01%           96.01%           98.75%           99.75%
10/29/2020 Great Lakes        Central Illinois                 1933         76.20%           76.20%           89.14%           97.62%
10/29/2020 Great Lakes        Chicago                          1147         85.96%           85.96%           91.02%           91.46%
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                                                   Measured        Processing      Processing Score   Processing      Processing
                                                   Volume:         Score:          Plus 1:            Score Plus 2:   Score Plus 3:
                                                   Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                                   Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area           District               Mail            Mail            Mail               Election Mail   Mail
10/29/2020   Great Lakes    Detroit                        151826          99.80%            99.80%          99.82%           99.87%
10/29/2020   Great Lakes    Gateway                           2196         62.61%            62.61%          90.80%           99.36%
10/29/2020   Great Lakes    Greater Indiana                  29989         83.25%            87.82%          88.35%           97.94%

10/29/2020   Great Lakes    Greater Michigan                1088          27.57%           27.57%           28.86%           99.36%
10/29/2020   Great Lakes    Lakeland                       95326          94.15%           94.15%           94.23%           99.98%
10/29/2020   Northeast      Albany                           900          83.78%           97.33%           98.78%           99.11%
10/29/2020   Northeast      Caribbean                         27          92.59%           92.59%           96.30%          100.00%

10/29/2020   Northeast      Connecticut Valley                712         83.99%           85.81%           91.71%           92.28%
10/29/2020   Northeast      Greater Boston                    593         58.01%           92.07%           97.64%           98.48%
10/29/2020   Northeast      Long Island                       289         82.70%           84.08%           88.58%           89.27%
10/29/2020   Northeast      New York                          337         89.02%           89.61%           93.47%           94.66%

10/29/2020 Northeast        Northern New England              627         34.93%           96.81%           98.56%           99.36%

10/29/2020   Northeast      Northern New Jersey              205          55.12%           57.07%           71.22%           94.63%
10/29/2020   Northeast      Triboro                          616          95.62%           95.62%           95.94%           95.94%
10/29/2020   Northeast      Westchester                      688          96.66%           96.80%           97.97%           99.13%
10/29/2020   Pacific        Bay-Valley                      3765          99.39%           99.58%           99.79%           99.84%
10/29/2020   Pacific        Honolulu                         194          96.91%           97.42%           98.45%          100.00%
10/29/2020   Pacific        Los Angeles                    14434          60.15%           69.10%           86.77%           93.90%
10/29/2020   Pacific        Sacramento                      1469          83.59%           87.95%           89.11%           92.44%
10/29/2020   Pacific        San Diego                       3614          47.04%           74.35%           74.90%           99.78%
10/29/2020   Pacific        San Francisco                   9608          98.84%           99.24%           99.46%           99.73%
10/29/2020   Pacific        Santa Ana                       2304          56.47%           57.03%           59.64%           99.65%
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                                            Measured        Processing      Processing Score   Processing      Processing
                                            Volume:         Score:          Plus 1:            Score Plus 2:   Score Plus 3:
                                            Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                            Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area        District           Mail            Mail            Mail               Election Mail   Mail
10/29/2020   Pacific     Sierra Coastal                3186         88.58%            93.00%          97.49%           99.69%
10/29/2020   Southern    Alabama                        333         17.12%            17.12%          80.18%           90.09%
10/29/2020   Southern    Arkansas                       171         83.04%            83.04%          90.64%           98.83%
10/29/2020   Southern    Dallas                         162         48.77%            48.77%          96.30%           96.91%
10/29/2020   Southern    Ft. Worth                      396         95.71%            95.96%          97.73%           97.98%
10/29/2020   Southern    Gulf Atlantic                 7959         93.62%            97.41%          97.78%           98.28%
10/29/2020   Southern    Houston                        134         61.94%            61.94%          76.12%           76.87%
10/29/2020   Southern    Louisiana                      190         92.63%            92.63%          97.89%           97.89%
10/29/2020   Southern    Mississippi                    182         71.98%            71.98%          73.63%           92.86%
10/29/2020   Southern    Oklahoma                       218         87.16%            87.16%          93.58%          100.00%
10/29/2020   Southern    Rio Grande                    1407         64.61%            64.61%          66.81%           98.93%
10/29/2020   Southern    South Florida                42019         96.88%            98.75%          98.84%           99.87%
10/29/2020   Southern    Suncoast                      5779         75.50%            82.85%          83.82%           84.46%
10/29/2020   Western     Alaska                       18321         99.80%            99.92%          99.99%           99.99%
10/29/2020   Western     Arizona                       1446         49.59%            49.65%          56.36%           90.66%
10/29/2020   Western     Central Plains                1635         56.45%            57.68%          62.69%           99.88%

10/29/2020   Western     Colorado/Wyoming            2168          67.11%           91.93%           92.25%           94.74%
10/29/2020   Western     Dakotas                     1954          96.32%           96.37%           97.65%           99.18%
10/29/2020   Western     Hawkeye                     1996          34.37%           34.37%           34.37%          100.00%
10/29/2020   Western     Mid-Americas                1629          20.99%           20.99%           22.71%          100.00%
10/29/2020   Western     Nevada Sierra              12132          99.02%           99.41%           99.55%           99.98%
10/29/2020   Western     Northland                  20646          58.35%           66.52%           98.94%           99.63%
10/29/2020   Western     Portland                    4552          75.77%           75.90%           76.32%           85.28%
10/29/2020   Western     Salt Lake City              1089          94.95%           94.95%           97.61%           99.63%
10/29/2020   Western     Seattle                      999          91.39%           91.39%           94.29%           94.99%
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                                                     Measured        Processing      Processing Score   Processing      Processing
                                                     Volume:         Score:          Plus 1:            Score Plus 2:   Score Plus 3:
                                                     Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                                     Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area             District               Mail            Mail            Mail               Election Mail   Mail
10/30/2020   Capital Metro    Atlanta                           1423         67.18%            69.71%          72.03%           88.69%
10/30/2020   Capital Metro    Baltimore                         1239         23.57%            23.81%          23.89%           25.75%
10/30/2020   Capital Metro    Capital                           1027         96.59%            97.27%          97.37%           98.73%

10/30/2020 Capital Metro      Greater S Carolina               390          50.26%           53.08%           54.36%           60.00%
10/30/2020 Capital Metro      Greensboro                     15011          93.34%           98.63%           98.70%           98.81%
10/30/2020 Capital Metro      Mid-Carolinas                   3406          19.70%           97.83%           97.83%           98.15%

10/30/2020 Capital Metro      Norther Virginia                  530         96.98%           98.11%           98.11%           99.81%
10/30/2020 Capital Metro      Richmond                          444         82.88%           87.84%           87.84%           90.09%
10/30/2020 Eastern            Appalachian                       942         96.60%           96.60%           96.60%           97.66%

10/30/2020   Eastern          Central Pennsylvania              216         43.52%           55.56%           56.48%           59.72%
10/30/2020   Eastern          Kentuckiana                      2196         77.96%           80.46%           80.56%           81.88%
10/30/2020   Eastern          Norther Ohio                     3361         43.17%           47.04%           49.12%           54.03%
10/30/2020   Eastern          Ohio Valley                      1518         82.74%           83.73%           83.86%           91.77%

10/30/2020 Eastern            Philadelphia Metropo             1493         15.61%           15.61%           15.61%           15.87%
10/30/2020 Eastern            South Jersey                     2047         42.31%           42.31%           42.31%           42.40%
10/30/2020 Eastern            Tennessee                        2901         80.35%           92.14%           93.62%           99.03%

10/30/2020 Eastern            Western New York                  259         77.61%           77.99%           77.99%           79.15%

10/30/2020 Eastern            Western Pennsylvania             1185         98.82%           98.90%           98.90%           99.16%
10/30/2020 Great Lakes        Central Illinois                  882         63.61%           64.17%           64.17%           91.72%
10/30/2020 Great Lakes        Chicago                           425         73.41%           73.65%           73.65%           74.12%
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                                                   Measured        Processing      Processing Score   Processing      Processing
                                                   Volume:         Score:          Plus 1:            Score Plus 2:   Score Plus 3:
                                                   Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                                   Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area           District               Mail            Mail            Mail               Election Mail   Mail
10/30/2020   Great Lakes    Detroit                          30548         13.41%            98.17%          98.17%           99.58%
10/30/2020   Great Lakes    Gateway                           1307         56.47%            56.54%          56.62%           63.43%
10/30/2020   Great Lakes    Greater Indiana                  56869         95.71%            96.49%          96.73%           96.90%

10/30/2020   Great Lakes    Greater Michigan                 1683         82.06%           82.65%           84.43%           88.59%
10/30/2020   Great Lakes    Lakeland                         3334         55.07%           57.50%           57.50%           67.01%
10/30/2020   Northeast      Albany                            444         55.18%           55.63%           61.26%           72.52%
10/30/2020   Northeast      Caribbean                         133        100.00%          100.00%          100.00%          100.00%

10/30/2020   Northeast      Connecticut Valley                354         91.24%           91.24%           92.09%           92.37%
10/30/2020   Northeast      Greater Boston                   3135         99.33%           99.52%           99.62%           99.68%
10/30/2020   Northeast      Long Island                       742         81.67%           81.67%           81.67%           89.76%
10/30/2020   Northeast      New York                         1174         99.23%           99.66%           99.66%           99.66%

10/30/2020 Northeast        Northern New England             3274         97.31%           97.34%           99.39%           99.69%

10/30/2020   Northeast      Northern New Jersey              9883         98.56%           98.56%           98.62%           99.63%
10/30/2020   Northeast      Triboro                          1413         97.10%           97.24%           97.24%           97.31%
10/30/2020   Northeast      Westchester                       274         98.18%           98.91%           99.27%           99.27%
10/30/2020   Pacific        Bay-Valley                       1187         97.47%           98.06%           98.48%           99.58%
10/30/2020   Pacific        Honolulu                          388         99.48%           99.48%           99.48%           99.74%
10/30/2020   Pacific        Los Angeles                      5249         33.99%           34.14%           41.78%           82.76%
10/30/2020   Pacific        Sacramento                       1394         91.75%           92.32%           93.90%           94.26%
10/30/2020   Pacific        San Diego                        1226         91.11%           95.27%           96.57%           97.15%
10/30/2020   Pacific        San Francisco                    4564         98.09%           99.15%           99.45%           99.58%
10/30/2020   Pacific        Santa Ana                        1520         90.26%           94.34%           94.41%           96.51%
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                                            Measured        Processing      Processing Score   Processing      Processing
                                            Volume:         Score:          Plus 1:            Score Plus 2:   Score Plus 3:
                                            Outbound Non- Outbound Non- Outbound Non-          Outbound        Outbound Non-
                                            Ballot Election Ballot Election Ballot Election    Non-Ballot      Ballot Election
Date         Area        District           Mail            Mail            Mail               Election Mail   Mail
10/30/2020   Pacific     Sierra Coastal                2963         90.96%            91.06%          91.63%           95.07%
10/30/2020   Southern    Alabama                       1455         93.13%            93.13%          93.13%           98.90%
10/30/2020   Southern    Arkansas                       578         99.83%            99.83%          99.83%           99.83%
10/30/2020   Southern    Dallas                         143         79.02%            79.02%          79.02%           97.90%
10/30/2020   Southern    Ft. Worth                     9667         99.89%            99.90%          99.90%           99.98%
10/30/2020   Southern    Gulf Atlantic                 4760         69.10%            76.55%          78.84%           82.63%
10/30/2020   Southern    Houston                        104         79.81%            79.81%          79.81%           80.77%
10/30/2020   Southern    Louisiana                      777         59.33%            59.85%          59.85%           60.10%
10/30/2020   Southern    Mississippi                    535         83.36%            83.36%          92.52%           98.13%
10/30/2020   Southern    Oklahoma                       838         99.16%            99.16%          99.16%           99.16%
10/30/2020   Southern    Rio Grande                    1326         96.68%            97.81%          97.81%           98.34%
10/30/2020   Southern    South Florida                 3638         88.79%            89.91%          91.81%           98.16%
10/30/2020   Southern    Suncoast                      3463         72.71%            73.92%          74.96%           78.66%
10/30/2020   Western     Alaska                        3401         81.65%            99.88%          99.94%          100.00%
10/30/2020   Western     Arizona                      11217         99.55%            99.55%          99.58%           99.85%
10/30/2020   Western     Central Plains                1627         94.65%            94.71%          95.08%           97.66%

10/30/2020   Western     Colorado/Wyoming            4326          11.74%           71.87%           89.32%           89.97%
10/30/2020   Western     Dakotas                     1270          96.54%           96.93%           96.93%           98.98%
10/30/2020   Western     Hawkeye                     2715          91.09%           91.38%           91.42%           91.82%
10/30/2020   Western     Mid-Americas                1497          68.40%           68.40%           68.40%           68.67%
10/30/2020   Western     Nevada Sierra                857          92.53%           92.88%           96.73%           96.73%
10/30/2020   Western     Northland                  19165          79.37%           94.62%           97.34%           99.63%
10/30/2020   Western     Portland                    3108          78.25%           78.83%           78.93%           89.67%
10/30/2020   Western     Salt Lake City              1057          98.58%           98.58%           98.68%           98.86%
10/30/2020   Western     Seattle                     3003          98.73%           99.20%           99.20%           99.20%
